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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Evgeny RYZHOV
Plaintiff
-V-

$5,379,876.94 IN UNITED STATES
CURRENCY FORMERLY ON DEPOSIT IN
SUNFLOWER BANK, N.A. ACCOUNT
1101996560, HELD IN THE NAME OF “OFAC
BLOCKED ACCOUNT MALOFEYEV”;

KONSTANTIN MALOFEYEV,
TSARGRAD TV
Defendants

COMPLAINT

Plaintiff Evgeny Ryzhov (“Ryzhov”), for his verified Complaint against Defendants, alleges,

upon information and belief, as follows:
INTRODUCTION

1. In 2014, Russian authorities began persecuting Ryzhov for his human rights and advocacy
activities, resulting in his abduction and hostage-taking in June 2015, but Ryzhov managed to escape and
resettle in the United States, where he was granted asylum.

2. Simultaneously with the politically motivated persecution, a group of high-ranking corrupt
officials (the "Group”) joined in the persecution of Ryzhov to extort and steal Ryzhov's property, including
the property of his US companies. The Group used fraud, intimidation, extortion, torture, etc., much of
which took place in the United States, to achieve its illicit goals. One of the tools of intimidation, extortion,
torture, and concealment of the crimes committed was the smear campaign against Ryzhov, which
included the creation of false and defamatory publications and their distribution around the world,
including the United States. This campaign was aimed at destroying Ryzhov's reputation, torturing him,
and interfering, bleeding dry and destroying his interstate law and investment businesses. This smear
campaign was implemented through Konstantin Malofeyev, and his media resources, including Tsargrad

TV, who in 2017-2018 created an association-in-fact, or RICO Enterprise, with the Group.
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3. The Group and its accomplices, including Malofeyev, Tsargrad TV divided the assets stolen from
Ryzhov and deposited them in various bank accounts around the world, including banks in the United
States.

4. On February 02, 2023, Ryzhov learned that the Manhattan Federal Court entered an order allowing
the prosecutor's office to confiscate $5.4 million from Malofeyev (case 1:22-cv-10148-JMF, SDNY
2023). Plaintiff believes that he is entitled to a portion of the monies because the funds stolen from him
and the proceeds of the stolen assets are contained in this money and that a portion of this amount should

be due to Ryzhov as compensation for Defendants’ illicit acts.
THE PARTIES

A. The Plaintiff

5. EVGENY RYZHOV (“Ryzhov”), the plaintiff, is a resident of Miami-Dade County, FL, an
individual over the age of 18, a human right activist and licensed attorney in Russia, and a certified foreign
legal consultant in the US, engaged in interstate and foreign law and investment businesses. Since 2014,
Plaintiffhas been persecuted by Russian authorities for his human rights and advocacy activities, including
his open stance on Russian violations of international laws, including the 2014 invasion of Ukraine.
Plaintiff is not only persecuted by the State for his activities but is also persecuted by a group of highly
corrupt Russian officials and those close to them "businessmen" and "businesses" such as Defendants
here, conducting their criminal affairs around the world and seeking to defraud Plaintiff. Ryzhov’s
dwelling address is 250 174th Str. Apt.1918, Sunny Isles Beach, FL 33160, USA, E.Ryzhov@yahoo.com,

+7(910) 7971688.
B. The Defendants

6. $5,379,876.94 in United States currency formerly on deposit in Sunflower Bank, N.A. Account
1101996560, held in the name of “OFAC Blocked Account Malofeyev” (the “Defendant-in-rem”).
7. KONSTANTIN MALOFEYEV (“Malofeyev”), the defendant, is a Russian national who was at

all relevant times the owner and managing partner of Marshall Capital Partners, which was a Russian

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equity investment group. In accordance with the indictment brough by the US against Malofeyev to this
Court, “on or about December 19, 2014, the United States Department of the Treasury"s Office of Foreign
Assets Control ("OFAC") designated MALOFEYEV as a Specially Designated National ("SDN"). In so
designating MALOFEYEV, OFAC explained that MALOFEYEV was one of the main sources of
financing for Russians promoting separatism in Crimea, and was designated as an SDN because he was
responsible for or complicit in, or has engaged in, actions or polices that threaten the peace, security,
stability, sovereignty, or territorial integrity of Ukraine and has materially assisted, sponsored, or provided
financial, material, or technological support for, or goods or services to or in support of the so-called
Donetsk People's Republic.”

8. TSARGRAD OOO (“Tsargrad”), Russia-based company is a cornerstone of Malofeyev’s broad
malign influence network!. Tsargrad spreads pro-Kremlin propaganda and disinformation that is amplified
by the Government of the Russian Federation (“GoR”). Tsargrad served as an intermediary organization
between pro-Russian European politicians and GoR officials, and recently pledged to donate more than
$10 million to support Russia’s unprovoked war against Ukraine. Tsargrad was designated pursuant to
E.O. 14024 for being owned or controlled by, or for having acted or purported to act for or on behalf of,
directly or indirectly, Malofeyev.

JURISDICTION AND VENUE

9, Jurisdiction is proper in this District as this case involves violations of Federal Law and thus
involves federal questions and violations against a foreign citizen.

10. This Court has jurisdiction under 28 U.S.C. §1332 because the parties are citizens of different

states and the amount in controversy exceeds $75,000.00.

' Malofeyev’s Malign Influence Ecosystem, in accordance with the U.S. Treasury Designates Facilitators
of Russian Sanctions Evasion, hitps://home.treasury.gov/news/press-releases/jy073 |

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11. Jurisdiction over Defendants is proper in this Court on the grounds that they conduct business
within the United States and have been recognized to be under this Court’s jurisdiction in previous
litigations.

12. Also jurisdiction over Defendants is proper on the grounds that they were all co- conspirators who
committed acts in furtherance of a conspiracy which they knew included acts in the United States, such as
using U.S. banks for the transfer of the money and/or U.S. dollar payments for the assets of the company,
transferring threats and defamation statements.

13. Pursuant to 28 U.S.C. § 1332(a), "[a] case falls within the federal district court's original diversity
jurisdiction only if diversity of citizenship among the parties is complete, i.e., only if there is no plaintiff
and no defendant who are citizens of the same State." Wisconsin Dept. of Corr. v. Schacht, 524 U.S. 381,
388, 118 S.Ct. 2047, 141 L.Ed.2d 364 (1998) (internal quotation marks and citation omitted).

14. Additionally, Rule 4(k)(2), Federal Rules of Civil Procedure, provides federal courts with personal
jurisdiction over a foreign defendant “in federal question cases and if the foreign defendant has sufficient
contacts with the United States to satisfy due process requirements.” See Eskofot A/S vs. EI Du Pont De
Nemours & Company, 872 F. Supp. 81 - Dist. Court, SD New York 1995.

15. Defendants are subject to this Court’s personal jurisdiction under N.Y. C.P.L.R. §302(a) which
provides that: “...a court may exercise personal jurisdiction over any non-domiciliary who, either "in
person or through an agent": (i) "transacts any business within the state or contracts anywhere to supply
goods or services in the state"; (ii) "commits a tortious act within the state"; (iii) “commits a tortious act
without the state causing injury to person or property within the state ... ifhe [a] regularly does or solicits
business, or engages in any other persistent course of conduct, or derives substantial revenue from goods
used or consumed or services rendered, in the state, or [b] expects or should reasonably expect the act to
have consequences in the state and derives substantial revenue from interstate or international commerce";

or (iv) "owns, uses or possesses any real property situated within the state." N.Y. C.P.L.R. §302(a)(1)-(4).
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16."[C]ourts have explained that section 302 is a ‘single act statute’ and proof of one transaction in
New York is sufficient to invoke jurisdiction, even though the defendant never enters New York, so long
as the defendant's activities here were purposeful and there is a substantial relationship between the
transaction and the claim asserted." Chloe v. Queen Bee of Beverly Hills, LLC, 616 F.3d 158, 170 (2d
Cir.2010) (internal quotation marks omitted); see also Baron Philippe de Rothschild, S.A. v. Paramount
Distillers, Inc., 923 F.Supp. 433, 436 (S.D.N.Y.1996) ("Personal jurisdiction pursuant to section 302(a)(1)
may be satisfied with proof that just one transaction occurred in New York as long as defendants' activities
were purposeful and substantially related to plaintiffs’ claim.").

17. Foreign defendants can be subject to personal jurisdiction where another party "engaged in
purposeful activities in the state ... with the consent and knowledge of the defendants, who both benefitted
from those activities and exercised extensive control over [the party] in the transaction underlying th[e]
suit." Retail Software Servs., Inc. v. Lashlee, 854 F.2d 18, 22 (2d Cir.1988); see also Kreutter v. McFadden
Oil Corp., 71 N.Y.2d 460, 467, 527 N.Y.S.2d 195, 522 N.E.2d 40 (1988).

18. Venue is proper in this district for all Defendants pursuant to 28 U.S.C. §1391(c)(3), which
authorizes an action against an alien in any district. Venue is additionally proper in this court for all
Defendants pursuant to 28 U.S.C. §1391(b)(2) because substantial actions in furtherance of the conspiracy
giving rise to Plaintiff's claims occurred in this District.

19. Jurisdiction and venue are thus proper.

FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

20. Plaintiff has been practicing law in Russia since 2005, and by 2009, his law firm had become one
of the most prominent in the region in cases against “Reiderstvo,” a type of illegal takeover, which in the
2000s became a common modus operandi in Russia. It is carried out through well-known techniques,
including fraud, bribery, forgery, corruption, intimidation, and ultimately expropriation of the targeted

company. Reiderstvo often involves private and public-sector white-collar criminals conspiring with state
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organizations, including law enforcement agencies, as well as high level sitting politicians and their family
members. See Dr. Louis Shelley and Judy Deane, The Rise of Reiderstvo: Implications for Russia and the
West (2016).

21.One of Plaintiffs clients was Aquamarine LTD (“Aquamarine”), its shareholders, and its
beneficiaries. Since 2005, the company has owned expensive premises located in the center of Moscow,
Russia, which had been targeted by a group of high-ranking officials ("the Group"). Group has been trying
to take over the premises illegally since 2007, but thanks to Ryzhov and his law firm, they managed to
resist these attempts in the courts.

22. Around February 2015, Group bribed General Drymanov’ and a number of police officers to create
an agency relationship to carry out their criminal scheme, aimed mainly at taking over property under
Ryzhov's control, including the premises above and his own assets’. On June 03, 2015, the illicit agency
began to physically carry out its plan. On that day, the police officers abducted Ryzhov, took him hostage,
and began extorting him to sign documents transferring his own and clients’ property to the Group’s
members. However, Ryzhov managed to escape from the hostage-takers and flew abroad, so Group had

to modify their scheme to achieve their overall goal. One such modification was to engage the Defendants

2 One of the top officers of the Russian Investigation Committee, an official of much influence

During his carrier, Drymanov initiated politically motivated criminal cases “on the genocide of the
Russian-speaking population of Donbas,” to justify Russian involvement in the conflict and incitement of
hatred against Ukraine in 2014. He repeatedly made false reports about the use of prohibited weapons by
the Ukrainian army. He illegally instituted criminal proceedings against a captured Ukrainian pilot
Nadezhda Savchenko and the commanders of the Ukrainian volunteer battalions Donbas, Aydar, and
Dnipro-1, See https://www.spisok-putina.org/en/personas/drymanoy-3/

3 When Ryzhov left Russia, he had the following property: 1) Right to property, including real and
intangible property held in a revocable Power Crown trust; 2) Right to income derived from the Power
Crown trust; 3) Proprietary interest in the judgment debt of $656,308, entered by the court against
Durandin; 4) Proprietary interest in conducting business in Russia, including legal and investment
business; 5) Right to real property owned by Ryzhov, including apartments, houses and commercial real
estate; 6) Right to income from the real estate listed in the preceding clause; 7) Proprietary interest arising
from a liberty interest in the reputation, good name, and integrity of Plaintiff to practice law; 8) Rights to
movable property, including ATV, snowmobile, firearms. The listed property was valued at a minimum
of $5,000,000 at 2015 prices.

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to achieve the Group's overall goal in exchange for a share of the illicit proceeds of the property stolen
from Ryzhov.

23. As of June 2015, when Ryzhov left Russia, he had the following property: 1) Right to property,
including real and intangible property held in a revocable Power Crown trust; 2) Right to income derived
from the Power Crown trust; 3) Proprietary interest in the judgment debt of $656,308, entered by the court
against Durandin, an active member of Group; 4) Proprietary interest in conducting business in Russia,
including law and investment business; 5) Right to real property owned by Ryzhov, including apartments,
houses and commercial real estate; 6) Right to income from the premises mentioned above; 7) Proprietary
interest arising from a liberty interest in the reputation, good name, and integrity of Plaintiff to practice
law; 8) Rights to movable property, including ATV, snowmobile, firearms. The listed property was valued
at a minimum of $5,000,000 at 2015 prices. This property is an objective target for illegal taking over by
Group, including Defendants, who constitute themselves an association-in-fact or RICO enterprise.

24. Group, acting through its company Equesman, and Plaintiff, representing his clients Aquamarine
were involved in few real estate-related litigations that did not end in Groups’s favor. The court
judgements between Aquamarine and Equesman, as well as others where Plaintiff was involved as a
lawyer or investor, had been published on the courts’ websites and this was freely available online to
anyone who wished to review the circumstances of the cases and how they were disposed. Wishing to
depreciate the court decision Group initially, corrupted General Drymanov, who instituted a bogus
criminal case against unknown persons, claiming that Equesman was a victim of fraud because it lost its
cases against Aquamarine.

25. Further, while Ryzhov was in the United States, Group began to use the criminal case as an
instrument of pressure. Group extorted ransom from Ryzhov in various forms, such as paying $3,000,000
in cash or signing documents transferring rights to his assets, otherwise threatening to initiate new bogus

criminal cases or continue harassing Plaintiff, his family members, and his businesses. All of these acts
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were accompanied by constant kill threats to Plaintiff and stealing of Plaintiff's property. See Case Ryzhov

v. Durandin et al (1:2022¢v20737, S.D. Fla).

26. When extortion failed and General Drymanov with his co-conspirators were arrested, Group
conspired with Defendant Malofeyev, who embarked on a smear campaign against Plaintiff through his
media, including Tsargrad.

27.On or about September 06, 2018, Malofeyev ordered Tsargrad to post a video reportage and an
article EVGENY RYZHOV'S BLACK CREDITORS on the Internet, Tsargrad’s website and other media
under Malofeyev’s control. That video and article contained many defamatory statements, accusing
Plaintiff of committing numerous crimes himself and as a part of an organized crime group, committing
numerous dishonest acts and so on. See Ryzhov Decl., § 3. The exert of the article and video below:

“Simple arithmetic of the MFC [micro-financial company] owner Evgeny Ryzhov
and his accomplices. Just a few manipulations with the borrower's credit contract, and
someone else's dwelling is in his pocket"; "He concluded microloan contracts, gave people
small amounts of money ..... Then ... changed the middle sheets of the contract, where the
amount was specified. And when people came and reimbursed him for everything they took,
he said: That's good, of course, but where's the rest of the money?"; "All in all, Evgeny Ryzhov
owns 27 properties. Ryzhov placed marginal people in his apartments, which created
unbearable living conditions for their former occupants."; "Ryzhov's vanity knows no
boundaries. In his greed he spared no expense, and even had his eye on a fleet of garbage
trucks belonging to a company that specializes in waste disposal"; "Ryzhov and Co. did not
limit themselves to falsifying documents... Their methods of weaning went beyond the law
and human morality. "They had pressure methods on me and my family like in the wild 90s,"
uttered Mr. Durandin. - On February 23rd they congratulated me on the holiday by hanging a
grenade with a string from the gate of my house, which turned out to be a training grenade,
but it did tickle my nerves. Because before that there had been SMS of different threatening
kind - "give it back to me and we'll leave you alone, but you also have children and
grandchildren - keep in mind" and "reveling in impunity, the ambitious Mr. Ryzhov decided
to take the capital. The black creditor took a swing at a three-story building in the heart of
Moscow, across from the Cathedral of Christ the Savior."; "When it's getting really tough,
Ryzhov's heels blazed. He was captured on Sheremetyevo Airport's surveillance cameras,
where he, yawning, strides through the terminal building with a small gym bag on his
shoulder, passes through security, and follows to the boarding gate. Half an hour later, the
plane will take him to the sunny shores of Miami"; "Being on an international wanted list,
Ryzhov continues to run his OCG [organized crime group] from Miami"; "A shocking story.
We feel sorry for the people who got in the way of Evgeny Ryzhov... Meanwhile, the courts
of Nizhny Novgorod sided with the black creditor for eight years, stamping one after another
dismissal of civil lawsuits."
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Additionally, that video reportage used Ryzhov’s own video, which was stolen from his laptop or
cloud account, and he had never permitted Tsargrad or someone else to use it publicly.

28.On or about September 23, 2018, through Facebook, Plaintiff contacted Elena Sharoykina
(“Sharoykina”), the CEO of Tsargrad, and demanded to remove that defamatory video and article because
they caused his moral suffering and also caused damages to his business reputation.

29. On or about September 25, 2018, Plaintiff had a phone conversation with Sharoykina and again
demanded Tsargrad remove that defamatory video and article. In response, she offered to submit Plainitt’s
demand to Tsargrad’s email to discuss it with Malofeyev. Plaintiff followed the offer and sent his demand
on the same day.

30. On or about September 28, 2018, Plaintiff received a reply from Tsargrad, refusing to remove the
video and article.

31. On October 11, 2018, Malofeyev ordered Tsargrad to post another article A WARM PLACE: THE
U.S. WELCOMED THE FRAUDSTER RYZHOV WITH PRISON on the Internet, Tsargrad’s website and
other media under Malofeyev’s control. This article repeats the slanderous statements from the September
06, 2016 article and also carried threats of life imprisonment. See Ryzhov Decl., § 9. The exert of the

article below.

“Evgeny Ryzhov, a lawyer from Nizhny Novgorod, who escaped to the United States
from criminal prosecution for real estate fraud, spoke at a forum of "political refugees." He
complained about his difficult fate, his imprisonment in a US prison, persecution by Russian
authorities, and Interpol.

Tsargrad previously covered a large-scale scheme by Evgeny Ryzhov, which gives
him every right to be considered one of the most successful swindlers in Russia in recent
times. In the disposal of TV channel there are materials of criminal case initiated against the
fugitive lawyer. Despite the commencement of the investigation, Ryzhov managed to escape
responsibility and hide in the US.

The lawyer there plans to make a good fortune with his capital. Until that happens,
he is active in the media, taking part in various forums and meetings where he talks about
his difficult fate and allegedly unfounded persecution by the Russian authorities.

The paradox of the situation is that "normal" criminal elements prefer to lie low and
not stir the waters. Ryzhov, on the other hand, tries to make more noise. ... On October 9
(the night of October 10, Moscow time) in Miami, Evgeny Ryzhov spoke at a meeting called

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"Business Refugees from Russia - Problems and Solutions" organized by Rubic, a
publication devoted to contemporary immigration to the United States. At the meeting, the
successful businessman and lawyer tried on the mask of an innocent convicted hero who, for
some reason, is persecuted in Russia for "political reasons" when he steals millions.

"U.S. Authorities Show Concern."

The discussion was moderated by Ekaterina Panova, editor-in-chief and founder of
the Rubic portal. In her opening remarks, she ironically stated that she was happy to introduce
the audience to "select criminals, according to the Kremlin and Russian propaganda. The
moderator stressed that she herself was Ukrainian, had never lived in Russia, and on that
very basis claimed to be objective.

When the microphone was passed to Ryzhov, he told his story. The lawyer's speech,
of course, did not include his microfinance organization, through fake contracts with which
he "snatched" apartments from Nizhny Novgorod residents and put them on the street, nor
did it mention the attempt to seize the sanatorium "Automobilist" and other similar cases,

But Ryzhov talked about the conflict he had with the former head of the State
Investigative Committee for Moscow, Alexander Drymanov, who has already been arrested
in Russia on charges of corruption. At the same time, Ryzhov noted that he himself was not
guilty of anything, just someone very much wants to take real property from his former
clients.

According to Ryzhov's version, Drymanov allegedly ordered his abduction. The
lawyer managed to escape via the fire escape, then made his way to Europe, and from there,
to the United States. There, however, he did not receive a very warm welcome: he was
arrested and imprisoned.

Ryzhov's gang enlisted the help of bailiffs, who came to “help seize" the property
with a group of 15 special forces.

The ability of fugitives like Ryzhov to portray themselves as victims is amazing! And
the U.S. willingly believes in the trend of political prisoners who are imprisoned because of
"Kremlin slanders" and persecuted abroad.

We can only hope that the U.S. will really look into Ryzhov’s case and return him to
the "high-security pioneer camp" or, better yet, extradite him to Russia to face punishment.
This would show Interpol and the world at large that the U.S. legal system is doing its job
well, and not just covering up for hardened criminals.

In Russia, Ryzhov could face up to 10 years in prison under the article on fraud.
However, it is possible that the investigation will still see signs of criminal association in his
actions. For this article 210 of the Criminal Code provides even harsher punishment, which
is adequate to the greed and indifference to the fate of people deceived by Ryzhov. Under
this article, one of the biggest swindlers of the last decade in Russia can go to jail for life.

32. As Tsargrad itself claimed in July 2016, its audience was 38.5 million viewers, and after the launch
in 2017 of live streaming broadcasts in the channel's official social media groups: Facebook, VKontakte,
and YouTube, the reach has grown by 440 percent, that is, to about 150 million viewers per month. At the
same time, Malofeev expressed confidence that Tsargrad_Tv's audience will continue to grow: "Russian

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World reaches hundreds of millions of people in Russia and beyond. The channel's staff work daily to
make sure that it is interesting to everyone who considers themselves Russian anywhere in the world."
Then, Malofeyev Further, Malofeev began publishing defamatory publications against Plaintiff through
his other numerous online media outlets in order to avoid direct association with his name. The total
number of such negative publications reached about 1,000,000.

33. By engaging in the conduct set forth above, Defendants intentionally, maliciously and irreparably
damaged Ryzhov’s reputation, personally and professionally.

34. The content of Defendant article and video’s expressions are false and mainly have been held to
be false by court decisions which entered in force and approved the collection proceedings in which
Sheindlin engaged.

35. Defendants acted with actual malice in that they acted with knowledge that the statements were
false or with reckless disregard of whether they were false or not.

36. Defendants, acting in conspiracy with Group, maliciously motivated to extort monies from Ryzhov
by tarnishing the reputation of his good name.

37. Absent entry of a temporary restraining order, followed by preliminary and permanent injunctive

relief, Defendants will continue to engage in a campaign of defamation against Ryzhov.

COUNT I: DEFAMATION PER SE
(Against Defendant Tsargrad)

38. Plaintiff incorporates paras. 27-31 as if fully set forth herein.

39. Under New York law, a defamation plaintiff must establish five elements: (1) a written defamatory
statement of and concerning the plaintiff, (2) publication to a third party, (3) fault, (4) falsity of the
defamatory statement, and (5) special damages or per se actionability.

40. Tsargrad’s is liable for defamation because Tsargrad published (1) written false statements that

tended to expose Ryzhov to public contempt, hatred, ridicule, aversion, or disgrace, (2) published it

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without privilege or authorization to a third party, (3) amounting to fault as judged by, at a minimum, a
negligence standard, and (4) Tsargrad’s statements were false, and thereby (5) they constitute defamation
per se.

41. Tsargrad committed defamation per se as its published statements charged Ryzhov with one or
more serious crimes and tended to injure him in his trade, business and profession.

42. Tsargrad’s September 06, 2018 published article on the Internet and video reportage on YouTube
falsely claim that Ryzhov committed numerous crimes, including frauds, and was dishonest with his
counterparties.

43. Said article and video, consisting of numerous false statements were published online and remain
available for viewing by consumers of Internet YouTube.

44, Tsargrad’s statements have exposed Ryzhov to public contempt, hatred, ridicule, aversion and
disgrace as demonstrated by the public’s comments on the Tsargrad website and websites which reposted
the article and video.

45, Said statements by Tsargrad are categorically false as Ryzhov engaged in collection procedures or
in transactions consistent with the Russian laws, which were confirmed by the Russian courts in adversary
proceedings.

46. Publication of the identified statements constitutes defamatory per se as it accuses Ryzhov of the
commission of serious crimes, acts of moral turpitude and tends to injure him in his trade, business and
profession, as an attorney, which requires the confidence and trust of potential clients, actual clients,
courts, colleagues and the general public.

47. Tsargrad’s statements were repeatedly and maliciously uttered with knowledge of their falsehood.

48. Tsargrad’s statements were made with actual malice and an intent to harm Ryzhov’s reputation, as
demonstrated by many factors, including that those statements contradict the courts’ findings and

conventional logic.

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49. The content and circumstances underlying Tsargrad’s defamatory statements constitute outrageous
conduct, which is malicious, wanton, reckless and perpetrated in willful disregard for Ryzhov's rights,
thus warranting punitive damages.

50. The events underlying this case, many of which are established as a matter of law and/or otherwise
uncontroverted, constitute extraordinary circumstances and there is no adequate remedy at law which can
mitigate and prevent further irreparable injury to Ryzhov except for an injunction requiring Tsargrad to
remove any and all published by itself or disseminated of its articles that accuse plaintiff Ryzhov of
stealing, fraud or any other criminal or unprofessional acts, and the injunction should prohibit Tsargrad
from publishing any such statements on any medium in the future.

51. Tsargrad’s unlawful conduct makes him liable to Ryzhov for compensatory and punitive damages

in an amount exceeding $75,000.

WHEREFORE, Plaintiff prays that this Honorable Court [a] accept jurisdiction over this matter, [b]
hear and decide this matter; [c] order Tsargrad to remove its statements about Ryzhov from the Internet
including but not limited to from its website and YouTube through the present date; [d] temporarily,
preliminarily and permanently enjoin Tsargrad from uttering, writing, publishing or otherwise spreading
false statements concerning Plaintiff, his agents, assigns, those acting in concert with him or family
members that in any way state or imply that Ryzhov engaged in unlawful, unethical or unprofessional
conduct relating to all cases that have been adjudicated with Ryzhov’s participation, [e] award Plaintiff
compensatory damages for the embarrassment and other harms caused him by the referenced publications;
[f] award plaintiff punitive damages for the malicious, wanton, reckless and willful violations of plaintiffs
rights in which defendant has repeatedly engaged and [g] enter any other order for relief as required by

law or equity, including the reasonable costs and disbursements arising from this litigation.

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COUNT II: Torture Victims Protection Act, 28 U.S.C. § 1350
(Against Defendant Malofeyev)

52. U.S. Federal and State statutes prohibited acts of torture occurring within the United States.

53. Torture is defined in the Torture Victim Protection Act as (1) ... any act, directed against an
individual in the offender's custody or physical control, by which severe pain or suffering ... , whether
physical or mental, is intentionally inflicted on that individual for such purposes as obtaining from that
individual ... a confession, punishing that individual for an act that individual or a third person has
committed or is suspected of having committed, intimidating or coercing that individual or a third person,
... and (2) mental pain or suffering refers to prolonged mental harm caused by or resulting from — (A)
the intentional infliction or threatened infliction of severe physical pain or suffering; ... (C) the threat of
imminent death; or (D) the threat that another individual will imminently be subjected to death, ...

54. The U.S. Department of State annually reports that Russia has one the highest levels of significant
human rights issues, including extrajudicial killings and attempted extrajudicial killings; enforced
disappearances by or on behalf of government authorities; pervasive torture by government law
enforcement officers that sometimes resulted in death; harsh and life-threatening conditions in prisons;
widespread corruption at all levels and in all branches of government; while the government failed to take
adequate steps to identify, investigate, prosecute, or punish most officials who committed abuses and
engaged in corruption, resulting in a climate of impunity.

55. In 2018, Group hired or otherwise created an agency relationship with Malofeyev, a covert agent
of Russian Government, and other state agents to use violence to intimidate Plaintiff in order to extort
from him property of his clients and his own. Malofeyev and others were given specific direction by
Group.

56. Defendant Malofeyev provided the members of Group his unlimited media sources for making
repeated direct statements that Plaintiff's fate was already sealed by the Russian authorities and that it
remained for them only to apprehend Plaintiff abroad and return him to Russia and subject him to

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prolonged imprisonment. That is, having their unlimited influence in Russia, they did not have even the
slightest doubt that court might decide otherwise. Virtually everyone knows, and numerous reports,
including the U.S. Department of State's, confirm that if a person is imprisoned in Russia, they are 100%
likely to be tortured. The numerous statements made by Defendant Malofeyev or other state agents, acting
under the color of law, that have gone on for a long time, reached Plaintiff and caused him to sustain
mental pain and suffering because the statements carried out clear and intended signals of threatened
infliction of severe physical pain or suffering, the threat of imminent death to Plaintiff. Even being a
considerable distance from Russia, Plaintiff could not feel safe because other government agents working
in conspiracy with Defendants were and are presented and acted in the United States promoting
Defendants’ threats on US soil, and Plaintiff at that time and now, as a Russian citizen, remains within
physical control of such agents.

57. Then, Defendant Malofeyev, acting in conspiracy with Group took action to deprive Plaintiff and
his family of their livelihood in the United States, coming from Plaintiff's property in Russia. State agents,
acting under color of law, demanded that Plaintiff's property be frozen so that he would either starve to
death in the United States or crawl to Russia himself. Plaintiff, who had developed a heightened sensitivity
because of the previous abducting and torture experience, experienced severe mental pain and anguish
from the threat of imminent death for his family and himself.

58. In 2018, when one of the Defendants’ main criminal partners, General Drymanov, was arrested on
charges of extortion and patronage to leaders of the criminal underworld, and Plaintiff began giving
numerous interviews to the international media, immediately after that, Plaintiff began receiving the
threats of imminent death from Russian telephone numbers on his phone in the United States. Since
Plaintiff indicated a direct link between Group and the General in those interviews, their direct interest is

evident here.

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59. Defendant Malofeyev was directly involved in the dissemination of the defamatory publications
against Plaintiff, which number exceeds 1,000,000 and the numerosity of the publications constitutes
torture itself because it leaves Plaintiff with no practical way to challenge them.

60. Plaintiffs mental anguish and suffering were exacerbated by the fact that all his attempts to
complain about the Group’s acts under the statutory procedure in Russia were in vain. The authorities,
acting under the direction of Malofeyev, turned Plaintiff's complaints into a farce, such as refusing to
adjudicate reports or complaints about the crimes committed against Plaintiff because they doubted the
authenticity of Plaintiff's signature on the complaints or the powers of attorney issued to his attorneys; or
because Plaintiff's rights were not violated by being a victim of crimes; or because the authorities declared
Plaintiff wanted person, although they registered his domicile in the USA and sent him correspondence to
his address, and so on, refusing to investigate or accept complaints for far-fetched reasons.

61. Thus, Plaintiff did and does not have access to an independent or functioning legal system within
Russia to raise his TVPA claims. Any efforts by Plaintiff to seek redress were futile because “while the
[Russian] government failed to take adequate steps to identify, investigate, prosecute, or punish most
officials who committed abuses and engaged in corruption, resulting in a climate of impunity”.

62. In 2019, the Miami Immigration Court (“IC”) has adjudicated Plaintiffs asylum petition, in which
Plaintiff had outlined Defendants’ acts, including here, and IC found the actions constituted that Plaintiff
was subjected to torture. Since the Defendant’s assertations have reached IC and were adjudicated,
Defendant Malofeyev is barred from contesting overwise under the doctrine of res judicata.

63. In Franchise Tax Bd. of California v. Hyatt, 538 U.S. 488, 123 S. Ct. 1683, 155 L. Ed. 2d 702

(2003) The Supreme Court of the United States held: “Full Faith and Credit shall be given in each ...
judicial Proceedings of every other State. ... Whereas the full faith and credit command “is exacting” with

respect to “[a] final judgment ... rendered by a court with adjudicatory authority over the subject matter

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and persons governed by the judgment,” [Baker v. General Motors Corp., 522 U.S. 222, 232,] at 233, 118

64. By committing torture Defendant Malofeyev and his co-conspirators acted under the color of
authority of the Russian government.

65. Citing Presbyterian Church of Sudan y. Talisman Energy, Inc., 453 F.Supp. 2d 633, 668 (S.D.

N.Y. 2006), the Court in Balcero held that the standard for aiding and abetting is “(1) the principal violated
international law; (2) the defendant knew of the specific violation; (3) the defendant acted with the intent
to assist that violation — that is, the defendant specifically directed his acts to assist in the specific violation;
(4) the defendant’s acts had a substantial effect upon the success of the criminal venture; and (5) the
defendant was aware that his acts assisted the specific violation.”* Balcero Order at 17.

66. As to the first element, Plaintiff has established in J] 52-60, supra, Defendant Malofeyev violated
international law by committing torture himself or abetting and aiding to commit it state actors.

67. As to the second element, Plaintiff alleges that Defendant Malofeyev, had actual knowledge of
what his acts could constitute torture and what effect they had on victim. However, Defendant Malofeyev
not only failed to cease his illegal activity; but instead, he engineered, executed, and directed others to

maximize the negative effect of torture on Plaintiff and his family.

4 Although Plaintiffs address herein the higher standard adopted by Balcero, their position is that the
binding standard for aiding and abetting was stated by the Eleventh Circuit in Cabello v. Fernandez-
Larios, 402 F.3d 1148, 1158 (11th Cir. 2005) as: (1) “one or more of the wrongful acts that comprise the
claim were committed,” (2) the Defendants “substantially assisted some person or persons who personally
committed or caused one or more of the wrongful acts that comprise the claim,” and (3) Defendants “knew
that [their] actions would assist in the illegal or wrongful activity at the time [they] provided the
assistance.” This test is virtually identical to that adopted by the RESTATEMENT (SECOND) OF
TORTS, § 876(b). Further, under international law, a similar aiding and abetting standard of knowing,
substantial assistance has been applied since at least the Nuremberg cases. See, e.g., U. S. v. Friedrich
Flick, 6 Trials of War Criminals Before the Nuremberg Military Tribunals Under Control Council Law
No. 10 (1952).

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68. As to the third element, when Defendant established an agency relationship with Group, he acted
with the intent to torture Plaintiff in order to further their conceived extortion of property from Plaintiff
as well as assist the members of Group to retaliate against him for their failures in the court proceedings.

69. As to the fourth element, Defendant’ acts had a significant impact on the success of the overall
criminal enterprise’s goal, it became easily achievable without any possible resistance from Plaintiff. And
Group reveled in its lust for revenge against Plaintiff, which they realized through the use of described
torture, and the ruining of Plaintiff's reputation and his businesses in Russia.

70. As to the fifth and final element, Defendant was totally aware and publicly admitted that the acts
assisted the specific torture alleged herein. As alleged above Defendant Malofeyev had actual knowledge
of what actions could constitute torture, when directed his subordinate and state actors to threat Plaintiff
in one way or another. The methods of operations were precisely what Defendant and his accomplicies

expected to receive.

WHEREFORE, Plaintiff requests that this Honorable Court enter judgment in his favor and grant

the following relief:

(1) An order granting Plaintiffs equitable relief, permanently enjoining Defendants Malofeyev

from further engaging in human rights abuses against Plaintiff and other members of his family;

(2) An order awarding Ryzhov actual, punitive, and compensatory damages, as well as reasonable

costs and attorney’s fees; and
(3) Any other relief the Court deems just and equitable.

COUNT II: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
(Against Defendant Malofeyev)

71. For more than eight years, Group, including Defendant Malofeyev, has engaged in an ongoing

criminal enterprise to usurp Plaintiff's property and destroy him as a person for the Group members’ own

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unjust enrichment and sadistic satisfaction. In furtherance of their common goal, Group has committed
various forms of unlawful acts against Plaintiff and his family, including abduction, extortion, fraud,
stalking, threats to kill, bodily injury, and so on.

72. A claim for intentional infliction of emotional distress under New York law requires a plaintiff to
establish: "(i) extreme and outrageous conduct; (ii) intent to cause, or disregard of a substantial probability
of causing, severe emotional distress; (iii) a causal connection between the conduct and injury; and (iv)
severe emotional distress." Howell v. N.Y. Post Co., 81 N.Y.2d 115, 121, 596 N.Y.S.2d 350, 612 N.E.2d
699 (1993). "[T]he rigor of the outrageousness standard is well established.” Lan Sang v. Ming Hai, 951
F.Supp.2d 504, 530 (S.D.N.Y.2013) (internal quotation marks omitted). Specifically, the "[c]onduct must
have been so outrageous in character, and so extreme in degree, as to go beyond all possible bounds of
decency," and recovery is only available "Where severe mental pain or anguish is inflicted through a
deliberate and malicious campaign of harassment or intimidation." /d. (internal quotation marks omitted).

73. Defendant Malofeyev, being an active member of Group, has involved in pattern and practice of
corruption, torture, threats, and intimidation of Plaintiff, to divest Plaintiff through recruiting state agents
and mobsters, and the pattern and practice are outrageous.

74. Defendant Malofeyev’s conduct in his continued attempts to assist group to abduct Plaintiff goes
beyond all possible bounds of decency.

75. Defendant Malofeyev’s conduct in threatening Plaintiff and his family goes beyond all possible
bounds of decency.

WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter judgment against
Defendant Malofeyev in an amount of $1,000,000:

(1) For his willful and intentional infliction of emotional distress upon Plaintiff;

(2) In any other amount of damages to be determined at trial;

(3) Any other relief the Court deems just and equitable.

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COUNT IV: TRANSMITTING OF THREAT COMMUNICATIONS 18 U.S.C.A. § 875
(Against Defendant Malofeyev)

76. As described above, between September and October 2018, Malofeyev, through his media outlets,
acting in concert with Group, several times transferred Group’s threats, which were summarized as
follows: “You [Plaintiff Ryzhov] must transfer to the members of Group the property extorted from you.
Otherwise, we are going to continue to harass and persecute you by commencing new bogus criminal
cases and continuance of the smear campaign in the media or would send someone to the US to kidnap or
kill you. Finally, they anyway take over your property. But if you give them what they want right now,
you can freely return to Russia and save at least some of your assets.” Plaintiff seriously apprehended the
threats because in 2015, in Russia, he was abducted by police officers; then, in 2017, Group again
attempted to abduct Plaintiff in the US, having misled US law enforcement and accompanied the attempt
with repeated defamatory statements and threats in 2017 and 2018 in the online outlets belonged to
Defendant Malofeyev.

77.18 U.S.C.A. § 875(b) states “Whoever, with intent to extort from any person, firm, association, or
corporation, any money or other thing of value, transmits in interstate or foreign commerce any
communication containing any threat to kidnap any person or any threat to injure the person of another,
shall be fined under this title or imprisoned not more than twenty years, or both.

78. 18 U.S.C.A. § 875(d) states “Whoever, with intent to extort from any person ... any money or
other thing of value, transmits in interstate or foreign commerce any communication containing any threat
to injure the property or reputation of the addressee ... or any threat to accuse the addressee or any other
person of a crime, shall be fined under this title or imprisoned.”

79. Here, Defendant Malofeyev’s threatening communications contained true threats to injure Plaintiff
himself or his reputation, which proved by the communications’ context and under the circumstances in

which they were transferred, where any reasonable person would foresee that the communications would

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be interpreted as an expression of a serious intention to inflict bodily harm upon or to take the life of
another individual.
WHEREFORE, Plaintiff requests that this Honorable Court enter judgment against Malofeyev:
(1) for his willful violation of Federal Law;
(2) in an amount of damages to be determined at trial;
(3) awarding Plaintiff any other relief deemed just and proper.

COUNT V: LAUNDERING OF MONETARY INSTRUMENTS
(Against Defendant Malofeyev)

80. 18 U.S.C. § 1956(a)(2) states:

Whoever transports, transmits, or transfers, or attempts to transport, transmit, or
transfer a monetary instrument or funds from a place in the United States to or
through a place outside the United States or to a place in the United States from
or through a place outside the United States (B) knowing that the monetary
instrument or funds involved in the transportation, transmission, or transfer
represent the proceeds of some form of unlawful activity and knowing that such
transportation, transmission, or transfer is designed in whole or in part (i)to
conceal or disguise the nature, the location, the source, the ownership, or the
control of the proceeds of specified unlawful activity, ... shall be sentenced to a
fine of not more than $500,000 or twice the value of the monetary instrument or
funds involved in the transportation, transmission, or transfer, whichever is
greater, or imprisonment for not more than twenty years, or both.

81. Malofeev, being a member of Group, received a share of the assets stolen from Plaintiff and
deposited them in the U.S. banking system, where they were frozen by the U.S. Attorney's Office case US
Vv $5,379,876.94 in United States currency formerly on deposit in Sunflower Bank, N.A. Account
1101996560, held in the name of “OFAC Blocked Account Malofeyev” (No 1:22-cv-10148-JMF, S.D.
NY).

WHEREFORE, Plaintiff requests that this Honorable Court enter judgment against all Defendant
Malofeev:
(1) for his willful violation of Federal Law;

(2) in an amount of damages to be determined at trial;

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(3) awarding Plaintiff any other relief deemed just and proper.

COUNT VI: VIOLATION OF THE RACKETEER INFLUENCED AND CORRUPT
ORGANIZATIONS ACT OF 1970 (“RICO”) - (18 U.S.C.A. §§ 1961 ef seq.)
(Against Defendant Malofeyev and Tsargrad)

82. Plaintiff reasserts and incorporates by reference the allegations in all preceding paragraphs above.

83. To state a claim under 18 U.S.C.A. §§1961 et seq., a plaintiff must allege (1) that the defendant
received money from a pattern of racketeering activity, (2) invested that money in an enterprise, (3) the
enterprise affected interstate commerce, and (4) an injury resulting from the investment of racketeering
income distinct from an injury caused by the predicate acts themselves. See Johnson vy. GEICO Casualty
Co., 516 F. Supp. 2d 351 (D. Del. 2007).

84. Defendants Malofeyev and Tsargrad have engaged in a “pattern of racketeering activity” as defined
under 18 U.S.C. § 1962(c).

85. 18 U.S.C. §1962(c) states: Jt shall be unlawful for any person employed by or associated with any
enterprise engaged in, or the activities of which affect, interstate or foreign commerce, to conduct or
participate, directly or indirectly, in the conduct of such enterprise’s affairs through a pattern of
racketeering activity or collection of unlawful debt.

86. Defendants Malofeyev and Tsargrad have engaged in at least two related acts of racketeering
activity, including conspiracy with Group to extort Plaintiffs assets, and transmitting threatening
communications to Plaintiff, and engineering and promoting a smear campaign against Plaintiff and his
businesses with common goal to “take them down” and “destroy”, and sharing illegal proceeds from the
stollen Plaintiffs assets that amount to or have posed a threat of continued criminal activity. See 18 U.S.C.
§ 1341. “[F]or an association of individuals to constitute an enterprise,” the Second Circuit has held, “the
individuals must share a common purpose to engage in a particular fraudulent course of conduct and work

together to achieve such purposes.” Satinwood, 385 F.3d at 174 (quoting First Nationwide Bank y. Gelt

Funding Corp., 820 F. Supp. 89, 98 (S.D.N.Y. 1993), affd, 27 F.3d 763 (2d Cir. 1994)) (emphasis

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added). Following Satinwood, district courts in this Circuit have held that the common purpose element
requires that the enterprise's members have had a common intent to violate RICO or to act unlawfully.
Here, it is more than evident that Defendants had and have a common goal between them.

87. 18 U.S.C. §1341 states in relevant part: Whoever, having devised or intending to devise any scheme
or artifice to defraud, or for obtaining money or property by means of false or fraudulent pretenses,
representations, or promises, or to sell, dispose of, loan, exchange, alter, give away, distribute, supply, or
furnish or procure for unlawful use any counterfeit or spurious coin, obligation, security, or other article,
or anything represented to be or intimated or held out to be such counterfeit or spurious article, for the
purpose of executing such scheme or artifice or attempting so to do, places in any post office or authorized
depository for mail matter, any matter or thing whatever to be sent or delivered by the Postal Service, or
deposits or causes to be deposited any matter or thing whatever to be sent or delivered by any private or
commercial interstate carrier, or takes or receives therefrom, any such matter or thing, or knowingly
causes to be delivered by mail or such carrier according to the direction thereon, or at the place at which
it is directed to be delivered by the person to whom it is addressed, any such matter or thing, shall be fined
under this title or imprisoned not more than 20 years, or both.

88. Defendants’ acts consist of (1) a scheme or artifice to defraud; (2) use of the wire communications
in furtherance of the scheme; and (3) intent to deprive Plaintiff of money, liberty, or property.

89. "A scheme to defraud is any plan or course of action by which someone intends to deprive another
of money or property by means of false or fraudulent pretenses, representations, or promises.” United

States v. Faulkenberry, 614 F.3d 573, 581 (6th Cir. 2010).

90. Upon information and belief, Defendants and their agents, associates, and/or representatives
communicated with one another in furtherance of their scheme to defraud via mail, e-mail and telephonic

communications.

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91. As a direct result of Defendants’ wrongful conduct and purposeful actions under RICO, Plaintiff

has been financially damaged.

WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an order:

(1) Finding that Defendants are in violation of The Racketeer Influenced and Corrupt Organizations

Act of 1970;

(2) Finding that Defendants have engaged in a pattern of racketeering activity in furtherance of a

scheme to defraud Plaintiff;

(3) Of Judgment against Defendants in the amount of damages to be determined at trial; and
(4) Awarding Plaintiff any other relief deemed just and proper;

COUNT VII: CONSTRUCTIVE TRUST
(against $5,379,876.94 IN UNITED STATES CURRENCY FORMERLY ON DEPOSIT IN
SUNFLOWER BANK, N.A. ACCOUNT 1101996560, HELD IN THE NAME OF “OFAC
BLOCKED ACCOUNT MALOFEYEV”)

92. Plaintiffs re-allege and incorporate by reference the allegations set forth in each preceding
paragraph as if rewritten herein.

93. Under 18 U.S.C.A. § 981 (a)(1) The following property is subject to forfeiture to the United States:
(B) Any property, real or personal, within the jurisdiction of the United States, constituting, derived from,
or traceable to, any proceeds obtained directly or indirectly from an offense against a foreign nation, or
any property used to facilitate such an offense, if the offense--(iii) would be punishable under the laws of
the United States by imprisonment for a term exceeding 1 year, if the act or activity constituting the offense
had occurred within the jurisdiction of the United States. (C) Any property, real or personal, which
constitutes or is derived from proceeds traceable to a violation of section 215, 471, 472, 473, 474, 476,

477, 478, 479, 480, 481, 485, 486, 487, 488, 501, 502, 510, 542, 545, 656, 657, 670, 842, 844, 1005, 1006,

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1007, 1014, 1028, 1029, 1030, 1032, or 1344 of this title or any offense constituting “specified unlawful
activity” (as defined in section 1956(c)(7) of this title), or a conspiracy to commit such offense.

94. A constructive trust will be imposed “when property has been acquired in such circumstances that

the holder of legal title may not in good conscience retain the beneficial interest.” Beatty v. Guggenheim

the imposition of a constructive trust: (1) a confidential or fiduciary relationship, (2) a promise, (3) a

transfer in reliance thereon, and (4) unjust enrichment. Sharp v. Kosmalski, 40 N.Y .2d 119, 386 N.Y.S.2d

72, 351 N.E.2d 721, 723 (1976). Because the ultimate purpose of a constructive trust is to prevent unjust

enrichment, however, these factors “are simply guidelines and their rigid application is not

required.” Matter_of Estate of Knappen, 237 A.D.2d 677, 655 N.Y.S.2d 110, 111, leave to appeal

denied, 90 N.Y .2d 802, 660 N.Y.S.2d 712, 683 N.E.2d 335 (1997). Even the complete absence of any

fiduciary relationship between a debtor and a creditor does not automatically defeat a creditor's claim

of constructive trust under New York law if otherwise required by equity. In re Koreag, Controle et

Revision, S.A., 96) F.2d 341, 353-54 (2d _Cir.1992). Rather, a constructive trust may be imposed

whenever necessary “to satisfy the demands of justice....” Jd. “As with fraud, a constructive trust may be

imposed on property obtained by bad faith.” Jn re Commodore Business Machines, Inc., 180 B.R. 72, 79

(Bankr.S.D.N.Y.1995).

Here, it is more than evident that Defendants had Here, the proceeds of $5,379,876.94 deposited in
Sunflower Bank, N.A. Acc. 1101996560 (‘““Malofeyev Account”) was obtained directly and indirectly
through a pattern of racketeering activity running by Defendants Malofeyev and Tsargrad from Plaintiff,

a foreign nation residing in the US. Thus, the proceeds are subject to a constructive trust.

WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an order:

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(1) Subjecting $5,379,876.94 in United States Currency formerly deposited in Sunflower

Bank, N.A. account 1101996560, held in the name of “OFAC blocked account Malofeyev” to the

imposition of a constructive trust;

DEMAND FOR JURY TRIAL

Plaintiff hereby demands a jury trial on all triable issues herein.
CERTIFICATION AND CLOSING

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge,
information, and belief that this complaint: (1) is not being presented for an improper purpose, such as to
harass, cause unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing
law or by a nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable opportunity for further investigation or discovery; and (4) the complaint otherwise
complies with the requirements of Rule 11.

I agree to provide the Clerk’s Office with any changes to my address where case-related papers
may be served. I understand that my failure to keep a current address on file with the Clerk’s Office

may result in the dismissal of my case.

Dated February 4, 2023 Respectfully submitted

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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Evgeny RYZHOV
Plaintiff
-V-

$5,379,876.94 IN UNITED STATES
CURRENCY FORMERLY ON DEPOSIT IN
SUNFLOWER BANK, N.A. ACCOUNT
1101996560, HELD IN THE NAME OF “OFAC
BLOCKED ACCOUNT MALOFEYEV”;

KONSTANTIN MALOFEYEV,
TSARGRAD TV
Defendants

/

DECLARATION OF EVGENY RYZHOV
I, Evgeny Ryzhov, declare and state as follows:

1. I am the plaintiff (“Ryzhov” or “Plaintiff’), in the above captioned action. I submit this
Declaration, which is filed in support of Complaint against Defendants, an individual’s property,
individual, individual’s business entity (collectively “Defendants”). In accordance with my best personal
knowledge and belief regarding the matters set forth in this Declaration and, if called upon to do so, I
could and would competently testify to the following facts set forth below.

2. I affirm that Konstantin Malofeyev owns Tsargrad and is the sole decision maker for the
launch of smear campaigns through his media, including Tsargrad.

3, I affirm that on or about, with a Malofeyev's approval, on or about September 06, 2018,
Tsargrad posted a video reportage and an article EVGENY RYZHOV'S BLACK CREDITORS on the
Internet, its website, containing, among others, the following defamatory statements:

“Simple arithmetic of the MFC [micro-financial company] owner Evgeny Ryzhov

and his accomplices. Just a few manipulations with the borrower's credit contract, and
someone else's dwelling is in his pocket"; "He concluded microloan contracts, gave people
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small amounts of money ..... Then ... changed the middle sheets of the contract, where the
amount was specified. And when people came and reimbursed him for everything they took,
he said: That's good, of course, but where's the rest of the money?"; "All in all, Evgeny Ryzhov
owns 27 properties. Ryzhov placed marginal people in his apartments, which created
unbearable living conditions for their former occupants."; "Ryzhov's vanity knows no
boundaries. In his greed he spared no expense, and even had his eye on a fleet of garbage
trucks belonging to a company that specializes in waste disposal"; "Ryzhov and Co. did not
limit themselves to falsifying documents... Their methods of weaning went beyond the law
and human morality. "They had pressure methods on me and my family like in the wild 90s,"
uttered Mr. Durandin. - On February 23rd they congratulated me on the holiday by hanging a
grenade with a string from the gate of my house, which turned out to be a training grenade,
but it did tickle my nerves. Because before that there had been SMS of different threatening
kind - "give it back to me and we'll Jeave you alone, but you also have children and
grandchildren - keep in mind" and "reveling in impunity, the ambitious Mr. Ryzhov decided
to take the capital. The black creditor took a swing at a three-story building in the heart of
Moscow, across from the Cathedral of Christ the Savior."; "When it's getting really tough,
Ryzhov's heels blazed. He was captured on Sheremetyevo Airport's surveillance cameras,
where he, yawning, strides through the terminal building with a small gym bag on his
shoulder, passes through security, and follows to the boarding gate. Half an hour later, the
plane will take him to the sunny shores of Miami"; "Being on an international wanted list,
Ryzhov continues to run his OCG {organized crime group] from Miami"; "A shocking story.
We feel sorry for the people who got in the way of Evgeny Ryzhov... Meanwhile, the courts
of Nizhny Novgorod sided with the black creditor for eight years, stamping one after another
dismissal of civil lawsuits."

See Exhibit A

4. laffirm that the video reportage used my own video, which was stolen from my laptop or cloud
account, and I have never permitted Tsargrad or someone else to use it publicly.

5. | affirm that on or about September 23, 2018, through Facebook, I sent a demand to Elena
Sharoykina, the CEO of Tsargrad, to remove that defamatory video and article, because they caused moral
suffering and also caused damage to my business reputation.

6. affirm that on or about September 25, 2018, I had a phone conversation with Elena Sharoykina
and, one more time demanded Tsargrad remove that defamatory video and article. In response, she offered

to submit my demand at press@tsargrad.tv to discuss it with Malofeyev.

7. 1 affirm that on or about September 25, 2018, I submitted the requested demand at the email

address.
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8. I affirm that on or about September 28, 2018, I received a reply from Tsargrad, which refused
to remove the video and article. See Exibit B.

9. I affirm that on October 11, 2018, with a Malofeyev’s approval, Tsargrad published an article
A WARM PLACE: THE U.S. WELCOMED THE FRAUDSTER RYZHOV WITH PRISON on the Internet,
its website, containing among others, the following defamatory statements:

“Evgeny Ryzhov, a lawyer from Nizhny Novgorod, who escaped to the United States
from criminal prosecution for real estate fraud, spoke at a forum of "political refugees." He
complained about his difficult fate, his imprisonment in a US prison, persecution by Russian
authorities, and Interpol.

Tsargrad previously covered a large-scale scheme by Evgeny Ryzhov, which gives
him every right to be considered one of the most successful swindlers in Russia in recent
times. In the disposal of TV channel there are materials of criminal case initiated against the
fugitive lawyer. Despite the commencement of the investigation, Ryzhov managed to escape
responsibility and hide in the US.

The lawyer there plans to make a good fortune with his capital. Until that happens,
he is active in the media, taking part in various forums and meetings where he talks about
his difficult fate and allegedly unfounded persecution by the Russian authorities.

The paradox of the situation is that "normal" criminal elements prefer to lie low and
not stir the waters. Ryzhov, on the other hand, tries to make more noise. ... On October 9
(the night of October 10, Moscow time) in Miami, Evgeny Ryzhov spoke at a meeting called
"Business Refugees from Russia - Problems and Solutions" organized by Rubic, a
publication devoted to contemporary immigration to the United States. At the meeting, the
successful businessman and lawyer tried on the mask of an innocent convicted hero who, for
some reason, is persecuted in Russia for "political reasons" when he steals millions.

"U.S. Authorities Show Concern."

The discussion was moderated by Ekaterina Panova, editor-in-chief and founder of
the Rubic portal. In her opening remarks, she ironically stated that she was happy to introduce
the audience to "select criminals, according to the Kremlin and Russian propaganda. The
moderator stressed that she herself was Ukrainian, had never lived in Russia, and on that
very basis claimed to be objective.

When the microphone was passed to Ryzhov, he told his story. The lawyer's speech,
of course, did not include his microfinance organization, through fake contracts with which
he "snatched" apartments from Nizhny Novgorod residents and put them on the street, nor
did it mention the attempt to seize the sanatorium "Automobilist" and other similar cases.

But Ryzhov talked about the conflict he had with the former head of the State
Investigative Committee for Moscow, Alexander Drymanov, who has already been arrested
in Russia on charges of corruption. At the same time, Ryzhov noted that he himself was not
guilty of anything, just someone very much wants to take real property from his former
clients.

According to Ryzhov's version, Drymanov allegedly ordered his abduction. The
lawyer managed to escape via the fire escape, then made his way to Europe, and from there,
to the United States. There, however, he did not receive a very warm welcome: he was
arrested and imprisoned.
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Ryzhov's gang enlisted the help of bailiffs, who came to “help seize" the property
with a group of 15 special forces.

The ability of fugitives like Ryzhov to portray themselves as victims is amazing! And
the U.S. willingly believes in the trend of political prisoners who are imprisoned because of
"Kremlin slanders" and persecuted abroad.

We can only hope that the U.S. will really look into Ryzhov's case and return him to
the "high-security pioneer camp" or, better yet, extradite him to Russia to face punishment.
This would show Interpol and the world at large that the U.S. legal system is doing its job
well, and not just covering up for hardened criminals.

In Russia, Ryzhov could face up to 10 years in prison under the article on fraud.
However, it is possible that the investigation will still see signs of criminal association in his
actions. For this article 210 of the Criminal Code provides even harsher punishment, which
is adequate to the greed and indifference to the fate of people deceived by Ryzhov. Under
this article, one of the biggest swindlers of the last decade in Russia can go to jail for life.

See Exhibit C
10. I affirm that Defendants are reachable at 115093, Moscow, Partyny lane, 1, room 57, building 3,

floor 1, room I, room 45, Tel.:+7 (495) 374-77-73, info@tsargrad.tv, press@tsargrad.tv

I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.

Executed this 04th day of February 2023.

Eygeny Ryzhov
-Ryzhov@yahoo.com

+7(910) 797 1688

250 174th apt. 1918,

Sunny Isles Beach, FL 33160
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Exhibit A
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tsargrad.tv /articles/chjornye-kreditory-evgenija-ryzhova_156703

YepHbie KpeqguTopp! EsreHna Papkosa

Mapua Vsatkuna : : 9/6/2018

Bb! yBepeubl, YTO Bala KBapTMpa NpuHagnexuT Bam? Bonutoujaa UcTopua npou3zowna B HvKHem
Hosropoge. 8 net Tam opygoBana Ganga YEpHbIx KPEAUTOPOB - BbIZaBaNU 3aMbI, NoAgWenbiBanu AorOBopbI,
a 3@TeM BNaMbIBaNUCh B AOMA KMUEHTOB C AOKYMeHTaMl Ha COBCTBEHHOCTb.

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MUKpOcbvHaHCOBONU OpraHu3ayun, Kak BOAMTCA, Nog 3anor KBapTupbi. JeHbru oTAan, Aja He Bce. Mo
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nocmpadaeulaa CeemsiaHa TuxoHoea. - Bce Torga cgaBanu Ha npaBa UV nokynanu MauinHbl: A y Hac He
6bINO AEHEXKeK, UTOOb! EMy KAKyIO-TO M@LUVHY KYNUTb, V\ BOT OH BTAMHe OT HAC, pa3 Mbi EMy He AaeM UU He
MOoKEM EMy HVKaK NOMOUb, PeLUMN CNPaBUTbCA CaM ~ B3ATb 3TU AeHbIU».

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3aHAn «nayaH» 100 TbIcAY py6nel, B CpOK BeEpHyn BClO CymMMy. OAHaKO ocTanca GomKeH ee
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HECKONbKO MaHuNnyNAUMN C KDeEAUTHbIM HOTOBOpPOM 3aéMluukKa, VY YyKaA KuNNNOWaab B KapMaHe.

Tlapmuep topuduyeckoeo 6ropo «TM Aeqenc» Onee KyKxoe paccka3zan Llaperpagy: «On 3aKxntiouan
QoroBopbi Ha MUuKpo3aimbl, BbIgaBan niogAM HeGonbluNe CyMMbI AeHer — NopsaKa 100-200 TEicay py6nen.
Motom, Kak Mb! npegnonaraem, MeHAN cpegHue NucTel AoroBopa, roe Obina yKa3aHa cymma. V Korga nog
npuxosunu Vv BO3sMeluaNnn eMy BCE, YTO OHM B3ANINM, OH TOBOPUN: 3TO XOPOLIO, KOHEYHO, a foe OCTaBLUNeCcA

HEHbIM?».

CpetnaHa TuxoHosBa. Poto: TenekaHan «Llaperpag»

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cCenun niogen MaprnHanbHon HapyxKHOCTH, KOTOPbIe CO3GaBanu HEBbIHOCMMbIe YCNOBUA ANIA KYUSHU
npexHux o6uraTenen.

«XOTeN Hac BbICENMTb, - KanyeTcA CBeTNaHa TUxXOHOBa. - OH CKa3an: A NOACeNtO Ha CBOHO AONHO KaKUX-TO
Tam Nrogen, C KOTOPbIMU BbI KVTb HE CMOKETe VU Camu yugéte. CKasan: KTO Bbi Takve? Bcé paBHo A Bawy
KBapTupy 3a6epy, a BbI MoxKeTe “ATH Ha ynuLly. MeHA Mano UHTepecyhT Balu npooOnemb».

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NeHCMOHHbIN ChOHA HE OTKAXKETCA OT CBOUX ABOPLOB, HO YBONUT 25% COTPYOHMKOB

Noctpagasuasr Ha3bIiBaeT PbpkoBa «TLeCNaBHbIM YENOBEKOM». «Bbe3Haka3aHHOCTb y Hero Ha Nuue
Hanucana: OA MeHA HET HMKaKux Nperpag, A Bcé mory. UTo 3axoyy, To 4 cAeNnato», - rOBOPUT THxXOHOBa.

TujecnaBie PbpkKoBa He 3HaeT rpanuu. B CBOel >»KAOQHOCTM OH HE OpesroBan HUYeM, VU Fake NONOKUMN Maz
Ha NapK MYCOPOBO30B, npvvaAanexann KOMNAHUM, KOTOPaA CNEUMANU3UpyeTCA Ha YTUNUZALLMU OTXOAOB.

«Mbl CTONKHYNUCb C rpynnow MOWEHHUKOB, - 3aAnBUna OupeKkmop KomnaHuu «Mod dom» Anéna IMono30ea.
- Y Hac NbiTanucb OTO6paTb TPaHCNOpTHbie CpeACTBa — MALIMHbI-MYCOPOBO3bI, KOTOPbIMU MbI OKa3biBanu
ycnyrv no BblBo3y Mycopa. B OHO npeKkpacHoe yTpoO BOoAUTenn Npuwwinu Ha paborTy U He OGHapyxKuU Ha
CTOAHKe CBOUX aBTOMOOMNeN. STO GonbwWaA TeXHUKa, KOTOPy!O HENb3A NONOKUTb B CYMKYy U NpOCcTO Tak
YHECTU CO CTOAHKU. Bbinw HanucaHb! 3aABNeHuA B MUNMUUIO, OObABNeEH NNaH-nepexBar, VU CNYCTA KaKOe-TO
BDeMA MauiMHb! ObiInv OOHapy>KeHb! Ha CTOAHKe CrTy>KObI CyqeOHbIX NDUCTABOB».

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Mycoposo3 komnaHun «Moi fom». Soto: TenekaHan «Llapbrpag»

Co BpemeHem annetutp! PbpKkoBa pocnu. B ovepefAHon pa3 ero rna3 ynan Ha 4yKoe - CaHaTopun
«ABTOMOG6UINUCT», PacnonoxKeHHbIN B cepaue Huwxeropogckonu o6nactn, B THxXOM MecTe Ha Gepery Bonru.

Co6cmeeHHuk o300poeumenbHoeo yupexdenus Banepud Aypanoun pacckaspiBaer: «CaHaTopun
HaXOfVITCA Ha KUBONUCHOM Gepery pekn Bonru, Ha npotoke. Hanpotus - OYeHb KpacuBbi OcTpoB Tensuun.
TaM COCHOBO-AYOOBbIN Nec. PAAOM B Necy O3epo OYeHb UUCTOE, 6,5 rekTapoB 36MM CO BCeMN
KOMMYHMKayMamn. KyCok OYCHb NakompI. Vi A He YOMBNAWCh, YTO Ha STOT KYCOK ObIN NONOKeH rna3».

U36aBuTeca OT sTOrO 3noro Ma3a OKa3anocb HenpocTo. PbpKos u Ko cbanbcudbuKalywen DOKYMeHTOB He
orpaHuunvBanich, Metogbt oTbéma BbIXOAUNM 3a PaMKM 3aKOHAa VU YENOBeYeCKON MOpaNn.

«Metogbl faBneHna y HX GbINW Ha MeHA UV Ha MOH CeMbIO Kak B NMxue 90-e, - AenvTcA rocnosMH
Oypanaun. - Ha 23 espana MeHaA No3sApaBunn c Npa3sAHnKon, NoABecuB K KaNUTKe MOero 4OMa rpaHarty C
pacTaKkou, KoTOpaA BNOCcnexACTBUU OKa3anacb yYeOHON, HO HeEpBb! NoLWeKoTaNu. Mockonbky AO sToro ObiInn
SMS pa3Horo yrpoxKarolyero CBONCTBa - «oTAaN NoAOopy-no3spoposy U OT Te6aA OTCTaHeM, a TaK — y TeOA U1
AeTU CCTb, M BHYKM €CTb — UMeu B BUgy».

YnuBanch Ge3sHaka3aHHOCTbhW, AMOULMOSHbIM FOCMOANH PepKoB pewun Opatb cronuyy. HépHbim KpeguTop
3AMaXHYSICA Ha TPExsTaxKHOe 3faHve B Camom cepaAue Mocksb! HanpoTuB Xpama Xpucta Cnacutena.

«Korga annetuTbl nepewinu HwKHun Hosropog u cTtanu 6onee CyLueCTBEHHbIMY, OH C rpynnon nuy pewnun
3aXBaTUTb 3gaHve B Mockse Ha Toronesckom OynbBape, 40M 3. Ho Ha 3TOM AeNe OH u Noropen», - oTMeTUN

afBokat Oner dKyKos.

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YonbiluaB 3anax *xapeHoro, PbpKoB 3aCBepKkan NATKaMH. OTo 3acbuKcupoBann KaMepb! BUZeoHabniogeHna
asponopta LlepemeTbeso, rae OH, 3eBaKn, WWaraeT NO 3aHulo TepMMHana C HEGONbLUOU CNOPTMBHOU CyMKON
Ha mneye, NPOXOAMT KOHTponb u CneAyeT kK Bbixogy Ha nocagky. CnycTa nonyaca CamonéT yMunT ero K
nackoBbim 6eperam Mavamu.

EsreHud Pepkos. Moto: TenekaHan «Llapprpag»

Berctso PppkoBa nonokeHve nocTpafaBlwux OT ero FeAHUK He ynyuwuno, Ero nocnegosatenu
NposoOmMkUNK 3axBaT KBapTUp.

Te, KTO nocnaGee, Obinn BbIHyKOeHb!I OTCTYNUTb. He3sBaHbie rOcTu 6yKBaNbHO BbPKUNU U3 COOCTBeEHHON
KBapTUpbl CeMbiO Cononeesbix, KOTOPaA COCTONT M3 TEX *KeEHLIVH — GaOyliku, MaMbi 4“ BHYYKM. My>KunHbi,
KOTOPbIN GbI BCTYNUNCA 3a HUX, PAAOM He OKa3asiocn.

Cembsal THXOHOBbIX, 3aXBaT KBapTMpbI KOTOPbIX NonaNn Ha BUACO3AaNNCh, CBOM XKUNNNOWAaAb OTCTOANA.
Mpasaza, Aya Toro, 4YTo6b! OTKYONMWTbCA OT MOLUCHHMKOB, NPULUNOCb BNE3Tb B AONIU.

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oT PbpxoBa. Mb! oTganu noutu 500 Trica py6nen 6e3 manoro, - coo6iuuna Llapprpany CeetnanHa
TuxouHosa. - BapuaHt, Kora Bbl MOxKeTe OKa3aTbCA Ha yNUUe ronbii uv Gocou, 6e3 AeHer u Ge3 Bcero ~ He
fan Bor yukomy!».

K NOMOLUM BCEBbILUHErO B3bIBaeT U PYKOBOACTBO CaHaTopuan «ABTOMOOunuCcT». MonbiTKu ero 3axBaTa
npogomkatotca. HaxogAcb B MEexKAYHAapOAHOM posbicke, U3 Mavamu Pppkos nposomkaeT pyKOBOANTb CBOen
ON. Ho snageney caHaTopun Banepuh Hypananu gan cnoso u ce6e, u cBoemMy KonnekTuBy, “TO OyfeT
6o0poTbcA AO KOHLAa.

«oka A aTy 3emnio Tony, CaHaTopul GyneT CaHaTopuem>», - 3anBun AypaHaMn.

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OyAYT KUTb c Bamu. [pu atom cyab! HwkHero Hosropoga Ha MNpOTAKeHMM BOCbMN NeT BCTaBaNM Ha CTOPOHY
4YEPHOrO KpequTopa, LWTAaMNyA OQUH 3a ApyrMm OTKa3Hble pelueHNA Ha UCKM TparKaaH.

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tsargrad.tv /articles/chjornye-kreditory-evgenija-ryzhova_156703

Black creditors of Evgeny Ryzhov

Maria Ivatkina : : 9/6/2018

Are you sure your apartment belongs to you? A blatant story happened in Nizhny Novgorod. For eight years,
a gang of black moneylenders had been operating there: they issued loans, forged contracts,a nd_ then
broke into clients' homes with property documents.

When a house is no longer a fortress, but a battlefield. A criminal detective story unfolded in Nizhny Novgorod.
Right on time for dinner, uninvited guests came to the apartment of the local Tikhonovs.

The man in bubble-white pants, Evgeny Ryzhov, introduced himself as the owner of % of their apartment. He
told the district police officer who arrived that the Tikhonovs' son took a loan from his microfinance
organization, as usual, against the security of the apartment. He paid back the money, but not all of it.
According to the court's decision the square meters came into his possession.

"The kid who was studying at the Nizhny Novgorod Technical School! of Motor Transport,” says Sveflana
Tikhonova, the victim. - Everybody was taking his license and buying cars back then. But we had no money
to buy him a car. So secretly, since we don't give it to him and can't help him in any way, he decided to take
the money himself.

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The "kid" borrowed 100 thousand rubles and paid back the entire amount on time. However, he still owed
another half million. Simple arithmetic of the MFI owner Evgeny Ryzhov and his accomplices. Just a few
manipulations with the borrower's loan agreement, and someone else's living quarters are in their pocket.

Oleg Zhukov, a partner at the law firm TM Defence, told Tsargrad: "He made microloan contracts, gave
people small amounts of money - about 100-200 thousand rubles. Then, as we assume, he changed the
middle sheets of the contract, where the amount was specified. And when people would come and reimburse

him for everything they had taken, he would say: That's good, of course, but where is the rest of the money?

Svetlana Tikhonova. Photo: Tsargrad TV channel

In Nizhny Novgorod, where the gang of black moneylenders was operating, 8 similar episodes were proven.
All in all, Evgeny Ryzhov owns 27 properties. The stories of housing tragedies of Nizhny Novgorod residents
were written by copy. Ryzhov moved people of marginal appearance to his apartments, which created
unbearable living conditions for their former occupants.

He wanted to evict us," complained Svetlana Tikhonova. - He said: I'll move some people into my share that
you can't live with and you'll leave. He said: Who are you? I'm going to take your apartment anyway, and
you can go out on the street. | have little interest in your problems.

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https://youtu.be/EoBOD8OUQxg
The Pension Fund will not give up its palaces, but will fire 25% of its employees

The victim calls Ryzhov a "vain man. "Impunity is written all over his face: there are no obstacles for me, | can
do anything. Whatever { want, | can do," says Tikhonova.

Ryzhov's vanity knows no bounds. In his greed, he did not shy away from anything, and even had his eye on
a fleet of garbage trucks owned by a company that specializes in waste disposal.

"We ran into a group of scammers," said the director of My House, Alyona Polozova.

- They tried to take away our vehicles, the garbage trucks that we used to provide garbage collection
services. One fine morning, the drivers came to work and didn't find their vehicles in the parking lot. This is a
lot of equipment that you can't put in a bag and just take away from the parking lot. They wrote statements to
the police, announced an interception plan, and after some time, the cars were found in the parking lot of the
bailiff service".

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Garbage truck of the company "My House". Photo: Tsargrad TV channel

As time passed, Ryzhov's appetite grew. Once again his eye fell on someone else's - the sanatorium
"Avtomobilist", located in the heart of the Nizhny Novgorod region, in a quiet place on the banks of the Volga.

Valery Durandin, the owner of the sanatorium, says: "The sanatorium is located on the picturesque bank of
the Volga River, on the channel. Opposite it is a very beautiful island of Telyachy. There is a pine and oak
forest there. Near the forest lake is very clean, 6.5 hectares of land with all communications. The piece is very
tasty. And | am not surprised that this piece of land was laid eyes on.

Getting rid of this evil eye was not easy. Ryzhov and Co. did not limit themselves to falsifying documents. The
methods of taking away went beyond the law and human morality.

"They had pressure methods on me and my family like in the dashing 90s," shares Mr. Durandin. - On
February 23, they congratulated me on the holiday by hanging a grenade with a tension grenade against the
gate of my house, which {ater turned out to be a training grenade, but it tickled my nerves. Because before
that | had received various threatening SMSes - "Give it to me quickly and we'll get rid of you, but you also
have children and grandchildren - keep in mind.

Reveling in impunity, the ambitious Mr. Ryzhov decided to take the capital. The black creditor took a swing ata
three-story building in the heart of Moscow, across from the Cathedral of Christ the Savior.

“When his appetites went over Nizhny Novgorod and became more substantial, he and a group of people
decided to seize a building in Moscow on Gogolevsky Boulevard, 3. But on this case he got burned,” said lawyer
Oleg Zhukov.

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Hearing the smell of fried food, Ryzhov's heels blazed. This was captured on Sheremetyevo Airport's
surveillance cameras, where, yawning, he strides through the terminal building with a small gym bag on his
shoulder, passes through security and follows to the boarding gate. Half an hour later, the plane will whisk

him away to the gentle shores of Miami.

Evgeny Ryzhov. Photo: Tsargrad TV channel

Ryzhov's flight did not improve the situation of the victims of his deeds. His followers continued to seize
apartments.

The weaker ones were forced to retreat. Uninvited guests literally drove the Solodeevs family, which consists of
three women - the grandmother, mother and granddaughter - out of their own apartment. There was no man to
stand up for them.

The Tikhonov family, whose seizure of their apartment was caught on video, defended their living quarters.
However, in order to pay off the crooks, they had to go into debt.

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https://youtu.be/TQV8cyc5jkU
Dangerous: crypto pyramids of black lenders

“We paid the money that the court demanded from us for our own apartment. We paid, although it was a
huge amount for us - we collected from all our relatives and thus got rid of the debt and Ryzhov. We have
paid almost 500 thousand rubles," Svetlana Tikhonova told Tsargrad. - God forbid for anyone to be on the
street naked and barefoot, without money and without anything!

The management of the sanatorium “Avtomobilist” also appeals to the Almighty. Attempts to seize it continue.

Being on an international wanted list, Ryzhov continues to lead his OCG from Miami. But the owner of the
sanatorium, Valery Durandin, gave his word both to himself and to his staff that he would fight to the end.

"As long as | trample this land, the sanatorium will be a sanatorium,” Durandin declared.

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Photo: www.globallookpress.com

Shocking story. | feel sorry for the people who got in the way of Evgeny Ryzhov. Imagine that unknown
boogeymen suddenly break into your apartment and tell you that they are going to live with you now. At the
same time, the courts of Nizhny Novgorod for eight years sided with the black creditor, stamping one after
another rejected decisions on the claims of citizens.

The Tsargrad TV channel has obtained documents which show that justice officials refused to conduct
handwriting expertise in the case of the Tikhonov family, whose son borrowed 100 grand and now owes 600.
The unemployed 18-year old boy got a taste of adult life. How did he get the loan in the first place’?

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Ryzhov's microfinance organization was staking on boys and pensioners. Those who are easier to influence.
Fraudster Evgeny Ryzhov is now in Miami and, apparently, is not poor. His business lives on. People still
cannot get rid of their annoying neighbors. Isn't it time for the country's Attorney General's Office to turn its

attention to this outrageous story?

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Exhibit B
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no3sa60TumMca"™», — cka3an PbpKoB.

CoBepWeHHO OYeBUAHO, YTO PbpKoB 6bINn 3agepxKaH B CLUA no 3anpocy UnTepnona, noTomy YTO paHee Opin
OObABNEH B ME KAYHAPOAHbIN POsbICK. 3aTeM AMEPUKAHLUbI B CBOUCTBEHHOM UM MaHepe Pew OTNYCTUTb
6erneua. Begb npectynneHuaz OH CoBepwan B Poccun, a 9TO aMepuKaHCKue CyAbI HE BONHYET.

YTBep»KAeHNe HacueT «3a60TbI» TakoKe BbITNAGUT KpanHe CMeWHbIM: BO BCEM MUpe AOKYMEHTHI,
3anpewjalolyve NOKNAATb CTPAaHy, HAa3bIBAlOTCA NOANNCKON O HeBbiesAe. VMeHHO TaKOU AOKYMeHT Nonyyun
Ha pykM Pepkos UV 6b OTNYLUEH U3 THPbMbI Nog sTy Nog_Nucky. OTo 3HayuT, YTO B CLUA emy y>Ke He Tak
KOM@OpTHO cenyac u GyAeT ele MeHEe KOMCPOPTHO B SyAYyLUeM.

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OctTaeTca TONbKO YANVBNATbCA TOMY, KaK CKNaAHO B CnoBax PbPKOBa BCE OKA3aNOCb BbIBEPHYTO HaV3HaHkKy.
OH nocTpagan OT pyk npecTynHoro reHepana [pbimMaHoBa, NepexKun NoxuWweHve U Tropbmy B CLUA. Hy 4em
He o6pa3 cTpasanbua?

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OgHako ana nyyuwero NOHVMaHUA pacckarKeM O TOM, YTO Ke Hagenan B Poccuu acdepuct Pppxos. O06 stom
APKO CBUAETENbCTBYIOT MaTepuanbi yronoBHoro Jena.

AnuHoctTb 6e3 rpaHuy

BonbluinHcTBo cxeM, KOTOpbie Ucnonb30Banu PbpKosB ero NOAeENbHUKM, OUeHb NOXOXKU Apyr Ha Apyra. Kak
CKa3aHo B CnpaBkKe No snu3ogam dena Pepkosa (ecTb B pacnopsKeHuUN Llapprpagia), OT pyk agBoKaTa
nocTpaganu 27 coOcTBeEHHUKOB KBapTup. MepBbim 3BeHOM Lenn 6bIn 3aeM, KOTOPbIN PbpKoB NnpegocTaBnan
COOCTBEHHUKY Yepe3 CBOHO MUKPOCcbUHaHCoBy!o OpraHu3alio. 3aem STOT NpeAOCTaBNaANcaA Nog 3anor Aonu B
KBapTUpe, npvyeM cyMMa 6bina He CNUWKOM 3HaYMTenbHOK — oT 100 Ao 250 Thic. pyOnen.

3atTem Pppkos nogAenbisan goroBop, MeHAA B HEM CyMMy UM CpoKM noralweHua, U Yepe3 CBOUX
npegctasuTenei nogasan UcK B Cyg Ha 3aeMuuMKa. Cyg OH, Kak NpaBUNo, BbIMrpbiBaNn, WV COBCTBEHHOCTb Ha
nonto B KBapTupe nepexoguna Kk Pphkosy Yepe3 NOACTAaBHbIX Nu. Mocne storo aqBoKaT NPUMeHAN yxKe
LUMPOKO U3BECTHYIO CXEMY MO 3aXBaTYy BCeM KBapTMpbI Yepes OAHY AON — Ha OCpULNaNbHbIX OCHOBAHUAX U1
C peWeHNeM cya Ha PYKaX HOBbIM COOCTBEHHMK U3 YUCNa HAHATHIX PbbKOBbIM NtOAeN COBEPLUCHHO 3AKOHHO
nogficensanca B kBapTupy. OH MOr MeHATb 3€MKU B ABEPAX UNUM NPOCTO AeNaTb %*KU3Hb NPOKUBAIOLUX B
KBapTupe niogel HEBbIHOCUMONM, CKNOHAA UX K NpogjaxKe unu nepegaye Aonen.

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Kak paccka3an B 3KCKNIO3MBHOM MHTepBblo Llapbrpagy napTHep topuguyeckoro 61opo «TM-Defence» Oner
>Kykos, PbbKoB He CMor GbI CTONb 3cbqdpeKTUBHO NPOBOpaNUBaTb STOT MEXAHU3M CHOBa M CHOBA, CNN Gb He
NOMOLMb APYrMxX NM.

Tam 6bIn OAMH UV TOT >Ke Cy, roe cyaben Obin HeKTO BenukaHos, KOTOpbIN Tenepb ABNAeTCA
3amMecTuTenem rnaBbl cyga BnagumupcKon o6nactu. AgBokaTbI, KOTOPbIe 3HAKOMUNUCh C
MaTepvanamn gena B OTHOLWEHUM NoAeNbHUKOB PEpKoBa — JIbicaKoBcKoro u UepHosa, —
Bugenn, To Tam 6bIna Apy»KecTBeHHaA Nepenucka Mexay cyoben Benukanosbim Mu YepHoBbio.
V\ Bce cygbi 6binu B A3ep>KUHCKOM paiioue, rae cyaben Obin BenukaHos,

— paccka3an KyKoB.

Mo ero cnosam, No ofHomy v3 gen PepkoB npegoctaBun opurunan AoroBopa 3alima, vu Kora Obina
Ha3HayeHa NovepKoOBeAYeCcKaA akcnepTu3a, TO PbbKoB Nog NpeANorom O3HakomNeHUA C MaTepvanamn jena
nonpocty npuwen uv noxvTHN opurunanbl AOKyMeHToB. *KYKOB OTMeETUN, YTO 9TUM AeNCTBNAM PEpKoBa
Taoxe 6bina HaHa OWeHKa Cne”ACTBNemM.

OHO v3 NocTpagaBWwux COOCTBeEHHUL KBapTup ObiINa xXVTeNbHUWa HvwKHero Hopropofla CpeTnaHa
TuxoHosa. Ona paccka3ana Llapprpagy, YTo ee CbIH ele B 2009 roy B3AN B KOMNaHMN PepKOBa 3aeM Ha
100 TbIc. py6nev v no ownM6kKe unu He3sHaHulo Nog~Nvcan AoroBop oO 3anore cBoew Aon B KBapTUpe. Mpuvem
OCTaMbHble UNeHbI CeMbN O06 BTOM He 3HaNu AO Tex Nop, noKa B KBapTupy B 2013 rogy He Bnomunica cam
Pppkos Buecte C JibiCaKOBCKMM MU Apyrumu nogenbHuKkamy.

OHM 3aABUNM, YTO Ha OCHOBAaHUN peWeHUA cya BNagelT 1/4 Gone B KBapTUpe VU HamepeHb!i NonyyUTb ee
LIEnUKoM. Xo3AeBa NONbITaNUCh HE NYCTUTb HE3BaHbIX TOCTeM, OAHAKO Te BOLUNU CUNOH U CTanu yrpoxKaTb
TUXOHOBOU VU ee Cembe. MpumeyaTenbHo, YTO STOT 9NN304 SbiIN CHAT Ha BUAeO CaMMM PbPKOBbIM, STU
3anucu cevyac TaKxKe cburypupylcT B MaTepuanax yronoBHoro Alena B OTHOLWeHUN Gernoro afBoKaTa.

Cama TuxoHoBa paccka3ana, YTO BbIHy»KqeHa ObiINa 3annaTuTb NO pewWeHulo cya Tpe6yemylo cymmy B 500
TbIC. py6ne, uTOHbI OcBOOOANTECA OT NPecneAOBaHUA CO CTOPOHb! OaHAb! PepKoBa. Ha nonoxKuTenbHoe
pelweHve no Aeny HaferKAbl yKe He OCTaNOCcb, Tak Kak PbbKOB Haxo”MTca B CLUA, a 6e3 ero OUHOrO yuacTuA
B AeNe peweHve HE MOXKET ObITb NPUHATO, HOOaBuNAa OHA.

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«CNeEACTBEHHbIN KOMUTET FOBOPUT, UTO STO HEPeaNbHO, 3AO4HO Take BoMpocb! He pewaloTca. [nA 3storo ero
Hao AenopTupoBaTb B Poccuw, YTOObI 30eCb COCTOANCA OUHbIM CyA, VU TONbKO Torga OyfeT pelwieHne oO
BO3BpaTe KAKUX-To eHer, — cka3gana TUXOHOBa.

«Mb! BbiInnaTunu Te MeHbru, KoTOpble CyA HaM Mpvicyqun HU 3a UTO, 3a Halwy xe KBapTupy. J\na Hac 3TO
OrpomHaa Cymma, ee coGupanu co BCex POACTBeHHUKOB, 3annaTunn uv ocBoGogunucb Takum 06pa30M Ui OT
gonra, uv oT PbbkKoBa», — paccKka3sana noctpagaBwan coOCTBeHHULIa.

OAHako PbPKOB UU ero COOBLUHMKM HE OFrpaHMYNNNCch penuAepcKuMN 3axBaTaMu KBapTup. Euje ofHVM
nocTpagaBuium cran Banepun FypakHaNk — 6piBLuMM COOCTBeHHMK HYKeErOpoACcKorO CaHaTopnaA
«ABTomoounncT». LypaHaNH ocyuiecTBnAn cbunaHcupoBaHue CaHaTopUA Yepe3 KOomNaHuUloO «Cup»,
KOTOpaA VU CTana OObeEKTOM penAepcKoroO 3axBaTa CO CTOPOHbI GaHAbi PepKoBa.

Alypanauu pacckas3an Llaperpagy, To B AHBape 2010 roga Pbpkos npuwen K Hemy U 3anBuN, YTO
KYNUN NATUACCATUNPOLIEHTHY!O Aono B «CUpuHe», YW npeANnoKUuN pasqenuTb KomnaHuiw. OAHaKo [ypaHANH
OTKa3an emMy B 9TOM, Ha HTO B OTBET yCnbiIwWan OT PbpKkoBa yrpO3bl «HaMTN Apyrve MeTOAbI BO3AeNICTBUA».

B mapte 2010 roga D3epkuncKuh ropopcKon cya 3aperucTpupoBan UCKOBOe 3anBNeHue O B3bICKAHMNY AONra
c Hypanauua ako6pl no goroBopy 3avma nog 9% B MecaL, oT 2009 roga. 3aumogaBLiem BbICTyNan HeEKUU
Bauy, ypoxeHey, Couu, ¥To Taloke NOATBeEpKAAaeTCA B CnpaBke No snu30gam Adena Pppkosa. B cbespane 2011
roga cyg npvcyaun B3bickaTb c FypaHauna 34,2 mnH pyOnen Aonra B nonb3y Bayy.

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«llocne storo PbpKoB ObICTPeHbKO TaKKe Yepe3 Cyg Nepeodbopmnun npaBo Tpe6oBaHna AONra Ha cea.
AkoGb! OH 3annaTun 3a MeHsA BCIO Cymmy 3TOomy Bayy. KoTopbii, KcTaTu, OCnapuBan 9sTO, HO Npourpan cy”
PbpkoBy, Tak KAK Ha TOT MOMEHT B Cygax y ero 6bINu Kpenkve cBA3V. OTO NOATBEpxKAaeTCA NPOTOKONOM
Aonpoca nogenbunka PepKoBa, HeKoero MupymoBa», — pacckasan flypaHaun.

3aTemM PppKoB cBoumu 50% B «CupuHe» CMeCTMN C AOMKHOCTU MnaBbl KoMNaHun Spata Aypangauna u co
CBOUMU NOAeNbHMKaMu Nposlan Bce akTUBb! «CupuHa» CHayYana OAHOMy rpaxganuny Y36eKucTana,
3aTeM Apyromy, a TOT Nepeslan Ge3Bo3Me3AHO UX OCbLUOPHOM KOMNaHun «flayap KpoyH JITO». Nocne
U3bATHA CNeACTBNemM Cofep»KuMoro GaHKOBCKON AYeNKU PbpKOBa ObINO yCTAHOBNEHO, TO UMEHHO OH
ABNAeTCA BNagenbuem STON KoMNaHun.

Mo cnosam [lypaHanua, YTOObI OKOHNATENbHO BbIZaBUTb U3 CaHaTOpUA «ABTOMOOMMUCT» ero 3AKOHHbIX
Bnagenbues u nepcouan, GaHga PbpkoBa npuGerna K NOMOLY Cyfe6HbIxX NpUicTaBoB, KOTOpbie npvesKanu

«NOMOlaTb 3aXBaTbIBAaTb» UMYLUECTBO C rpynnon v3 15 cneuHa30BLueB.

Porto: www.globallookpress.com

Mepcouan KanuTynNUpoBan, Tak Kak «BNaCTb CCTb BNAaCTb», 3aHBUN Aypanaun. Bmecte c Tem yrpo3bl
CbInNanUCb U B afipec Hero CaMoro VU efo CeMBbM.

«Metogb! daBnenua y HUX 6bINU Ha MEHA UV MO! CeMbIO COBEPUIEHHO Kak B NUxue 90-e. 23 chespana 2011
roa OHM NOABeCUNU Ha KaNUTKy MOero fOMa rpaHary C pacTAXKKOU, KOTOPAA, KaK BbIACHUNOCb
BnocnegctBuy, 6bina yue6Hon. Hepsb! nowekoTanu. 3aTeM OHU Npncbinanu CMC-coo6ujeHua Cc

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H@3HAKOMbIX HOMEpoB, Mon, OTAaN No_o6py-no3sqoposy, U Mbi OTCTaHeM, y Te6A U ATU ECT, U BHYKM, TaK
UTO WMel B BUAY», — paccKasan Llapprpagy OypaHaun.

NaptHep topuguyeckoro 61opo «TM-Defence» Oner Kykos pacckas3an Llapprpagy, YTo anocbeo30m
anYHOcCTU PppkoBa cTana nonbitka pevgepckoro 3axBaTa 34aHUA B CaMOM LIeHTpe Mockesbl, Ha ToroneBckom
6ynbBape. Nonbitka 9Ta B uTOre NpoBanunacs, K TOMY Ke B OTHOWEHNN PbpKoBa Tora NOABUNOCb MHOrO
xKano6. 3a agBokaToM TakoKe cdhopmupoBanca Yenbin wnend pen no MOTUBaM 3axBaTa KBapTup B HwKHeM
Hosropoge. B uTore Bce Gena 6biInu OGbeANHEHb! B OAHO NpOoUsBOACTBO (No cnoBaM /lypaHaAuUHa, Aeno
caHaTopun «ABTOMOGUNUCT» BCe Ke CYLUECTBYET OTMENbHO), a CaM PbPKOB He CTan AOxKUgaTbca, Moka ero
apectyloT, u c6exan B CLUA.

YANBUTenbHa BCe-TakV CnocoGHOcTb 6erneyoB Bpogse PbIkoBa BbICTaBNATb CeOaA B KayecTBe KepTB! VB
CLUA OXxOTHO BeEpAT B TPEHA O NONUTUYECKMX ZAKNIOUGHHbIX, KOTOPbIX CAKAIOT B TIOPbMbI MO «HAaBeTAaM
Kpemna», a Take NpecnevyoT 3a rpaHnuen.

Octaetca BepuTb, 4TO B CLUA gevcTBuTenbHo pa3s6epyTca c Genom PppkosBa, OH BEPHeTCA B «MMOHEPCKUU
Narepb CcTpororo pexuma», a ele Nyywe — SyfeT 9kKCTPaAnpoBaH B Poccuio, rae NOHECeT
COOTBeTCTBYIOLUEe Haka3aHie. OTuM G6bI npaBoBar cuctema CLUA noka3zana UnTepnony u Boobie Bcemy
Mupy, YTO OHA BCE-TaKU CnpaBnAeTCA CO CBOeENM pabOTON, a HE MPUKPbIBaeT OTNETbIX NPECTYNHUKOB.

B Poccuu Ke NO CTaTbe 0 MOWEHHMYeCTBe PbPKOBY MOXKET TPO3NTb 3aknIONeHNe Cpokom AO 10 net. OAHaKO
HE UCKMIONEHO, YTO CNeACTBUe BCE-TaKN YCMOTPUT B ero ACUCTBUAX NPU3HAKU OpraHusayun NpectynHoro
coo6uecTBa. 3a 9TO cTaTba 210 YronoBHoro Kofekca NpesycmatTpuBaeT ee Gonee *KeCTKOe Haka3aHue,
BNONHe aMeKBaTHOe MPOABNEHHbIM PbhKOBbIM ANYHOCTH U Ge3pasnuunio K CyHbOam OOMaHyTbIX UM NtoAeN.
No 3TOW CTaTbe OAH U3 KPyNHeWWnx acbepucToB nocneAHero AecaTuNeTuA B Poccuu MOxKeT YrOAMTb 3a
PeLUETKY U MOKU3HEHHO.

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A warm place: the U.S. greeted the swindler Ryzhov with prison

Yegor Kucher : : 10/11/2018

Yevgeny Ryzhov, a lawyer from Nizhny Novgorod, who escaped to the United States from criminal
prosecution for real estate fraud, spoke at a forum of "political refugees. He complained about his difficult
fate, his imprisonment in an American prison, persecution by Russian authorities and Interpol

Tsargrad previously reported on the large-scale machinations of Yevgeny Ryzhov, which gave him the right
to be considered one of the most successful swindlers in Russia in recent times. The TV channel has in its
possession materials of the criminal case initiated against the fugitive lawyer. Despite the opening of the
proceedings by the investigative authorities, Ryzhov managed to avoid responsibility and escaped to the
United States.

There, the lawyer plans to make a good living with his capital. Until this happens, he is active in the media,
taking part in all kinds of forums and meetings, where he talks about his difficult fate and allegedly
unfounded persecution by the Russian authorities.

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The paradox of the situation is that "normal" criminal elements prefer to lie low and not stir the waters.
Ryzhov, on the contrary, tries to make more noise. Psychologists know that repeatedly repeating a false
judgment gradually creates the illusion that it is true.

This is probably Ryzhov's logic, since he has nothing but rhetoric to fall back on.

On October 9 (the night of October 10, Moscow time) in Miami, Evgeny Ryzhov spoke at a meeting called
"Business Refugees from Russia - Problems and Solutions" organized by Rubic, a publication devoted to
contemporary immigration to the United States. At the meeting, the successful businessman and lawyer tried
on the mask of an innocent convicted hero who, for some reason, is persecuted in Russia for "political
reasons" when he embezzles millions.

“U.S. authorities show concern."

The discussion was moderated by Ekaterina Panova, editor-in-chief and founder of the Rubic portal. In her
opening remarks, she ironically stated that she was happy to introduce the audience to "selected criminals,
according to the Kremlin and Russian propaganda. The moderator stressed that she herself was Ukrainian,
had never lived in Russia, and on this very basis claimed to be objective.

When the microphone was handed to Ryzhov, he told the audience his story. In the lawyer's speech, of
course, there was no mention of his microfinance organization, through fake contracts with which he
"snatched" apartments from Nizhny Novgorod residents and put them on the street, nor was there any

mention of the attempted seizure of the Automobilist sanatorium and other similar cases.

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Photo: www.globallookpress.com

But Ryzhov talked about the conflict he had with the former head of the State Investigative Committee for
Moscow, Alexander Drymanov, who has already been arrested in Russia on charges of corruption. At the
same time, Ryzhov noted that he himself was not guilty of anything, just that someone very much wants to
take real estate from his former clients.

According to Ryzhov's version, Drymanov allegedly gave the order to kidnap him. The lawyer managed to
escape from his confinement by a fire escape, then made his way to Europe, and from there - to the United
States. There, however, he did not receive a very warm welcome: he was arrested and imprisoned.

"Against the backdrop of the Russian prison, the American prison is a high-security pioneer camp. It is possible
to live there, although there are amusing characters - dark guys who play sports from morning till night and play
excellent soccer, not worse than the Russian national team, no offense meant,

— Ryzhov noted.

It took American justice 22 days to sort out my case. At that time | was no longer on the Interpol
list and | hadn't committed any offenses here. The American judge was very surprised that | was
in jail for 22 days. But no one, including the prosecutor, could explain the reason for my
detention,

— The fugitive swindler told the story.

Ryzhov also said that he would love to go back to Russia in order to "work things out in the legal! field" with
Drymanov and the cases of his clients. This statement looks quite ridiculous, because no one prevents the
lawyer from doing that: he just has to return and appear in court, where there is always a chance to prove his
innocence. However, Ryzhov, as we can see, only continues the talk about it from across the ocean.
Although the U.S. authorities released the fugitive from prison, they are in no hurry to give him refugee
status, although Ryzhov is sure that they “care” about him and are "following his case with interest.

"The claim of the U.S. authorities is that | stayed here after my tourist visa expired, but they gave me a paper
with the requirement not to leave the territory of the United States. That is, in one hand the expired visa and
in the other - a request from the U.S. authorities: "The main thing is that you do not leave the country, we will
definitely take care of you,” said Ryzhov.

It is obvious that Ryzhov was detained in the U.S. at the request of Interpol, because he was previously on the
international wanted list. Then the Americans, in their usual manner, decided to release the fugitive. After all, he
committed crimes in Russia, and American courts do not care about that.

The statement about "care" also looks extremely ridiculous: all over the world, the documents forbidding one
to leave the country are called a written undertaking not to leave the country. This is exactly the document
Ryzhov received and was released from prison on his own recognizance. This means that he is not so
comfortable in the U.S. now and will be even less comfortable in the future.

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We can only wonder how neatly Ryzhov's words turned everything inside out. He suffered at the hands of
the criminal general Drymanov, and survived kidnapping and imprisonment in the United States. !sn't this the

image of a sufferer?

Photo: www.globallookpress.com

However, for a better understanding, let's talk about what the swindler Ryzhov did in Russia. The materials
of the criminal case vividly testify to this.

Greed without Borders

Most of the schemes used by Ryzhov and his accomplices are very similar to each other. According to a
summary of Ryzhov's case episodes (available to Tsargrad), 27 apartment owners suffered at the hands of the
lawyer. The first link in the chain was a loan, which Ryzhov provided to owners through his microfinance
organization. This loan was granted against the security of a share in the apartment, and the amount was not
too significant - from 100 to 250 thousand rubles.

Then Ryzhov would forge a contract, changing the amount and terms of repayment in it, and through his
representatives he would sue the borrower. As a rule, he won the court case, and the ownership of the
apartment was transferred to Ryzhov through fictitious persons. After that the lawyer used a widely known
scheme of taking the whole apartment through one share: on official bases and with the court decision a new
owner out of people hired by Ryzhov legitimately moved into the apartment. He could change the locks on the
doors or simply make the life of the people living in the apartment unbearable by inducing them to sell or
transfer their shares.

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Oleg Zhukov, a partner at the TM-Defence law firm, told Tsargrad in an exclusive interview with Tsargrad that
Ryzhov would not have been able to pull off this mechanism so effectively over and over again if not for the help
of others.

There was the same court, where the judge was a certain Velikanov, who is now the deputy head
of the court of the Vladimir region. Lawyers who were familiarizing themselves with the materials
of the case against Rizhov's accomplices, Lysakovsky and Chernov, saw that there was friendly
correspondence between Judge Velikanov and Chernov. And all the trials were in the
Dzerzhinsky district, where Velikanov was the judge,

— said Zhukov.

According to him, in one of the cases Ryzhov provided the original loan agreement, and when a handwriting
expertise was appointed, Ryzhov simply came and stole the original documents under the pretext of
familiarizing himself with the case materials. Zhukov noted that these actions of Ryzhov were also evaluated
by the investigation.

Svetlana Tikhonova, a resident of Nizhny Novgorod, was one of the victims. She told Tsargrad that her son
took a loan of 100,000 rubles from Ryzhov's company back in 2009 and mistakenly or unknowingly signed a
pledge agreement for his share of the apartment. The rest of the family did not know about it until Ryzhov
himself, along with Lysakovsky and other accomplices, broke into the apartment in 2013.

They stated that on the basis of a court decision they owned a 1/4 share in the apartment and intended to
get it in its entirety. The owners tried not to let the uninvited guests in, but they entered by force and
threatened Tikhonova and her family. It is noteworthy that this episode was filmed on video by Ryzhov
himself, these recordings are also included in the materials of the criminal case against the fugitive lawyer.

Tikhonova herself said that she was forced to pay the required sum of 500 thousand rubles by court order in
order to be free from prosecution by Ryzhov's gang. There was no hope for a positive decision in the case,
because Ryzhov was in the United States, and no decision could be made without his personal! participation
in the case, she added.

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Photo: www.gioballookpress.com

"The Investigative Committee says that this is unrealistic, such issues are not solved in absentia. To do this, he
has to be deported to Russia, so that there will be a trial in person, and only then there will be a decision to
return some money," said Tikhonova.

"We paid the money that the court awarded us for nothing, for our own apartment. It was a huge amount for us,
it was collected from all our relatives, we paid it and thus we were free from the debt and from Ryzhov", - said
the affected owner.

However, Ryzhov and his accomplices did not limit themselves to raiding apartments. Another victim was Valery
Durandin, the former owner of the Nizhny Novgorod sanatorium

"Avtomobilist". Durandin financed the sanatorium through the company “Sirin", which became the object of a
raider seizure by Ryzhov's gang.

Durandin told Tsargrad that in January 2010 Ryzhov came to him and said
bought a fifty-percent stake in Sirin, and offered to split up the company. However, Durandin refused him, to
which he heard Ryzhov threaten to "find other methods of influence" in response.

In March 2010, the Dzerzhinsk City Court registered a lawsuit to recover a debt from Durandin, allegedly under
a loan agreement at 9% per month from 2009. The lender was a certain Bachu, a native of Sochi, which is also
confirmed in the certificate of the Ryzhov case episodes. In February 2011, the court ordered to recover from
Durandin 34.2 million rubles of the debt in favor of Bachu.

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"After that Ryzhov quickly reassigned the right to claim the debt to himself, also through the court. Allegedly
he paid the entire amount for me to this Bach. The latter, by the way, disputed this, but lost the trial to
Ryzhov, because at that time he had strong connections in the courts. This is confirmed by the interrogation
report of Ryzhov's accomplice, one Pirumov", said Durandin.

Then Ryzhov, with his 50% in Sirin, ousted his brother Durandin from his position as head of the company
and sold all the assets of Sirin together with his accomplices, first to one citizen of Uzbekistan, then to
another, who gave them free of charge to an offshore company, Power Crown Ltd. After the investigation
confiscated the contents of Ryzhov's safe deposit box, it was established that he was the owner of this
company.

According to Durandin, in order to squeeze the legal owners and staff out of the sanatorium, Ryzhov's gang
resorted to the help of bailiffs, who came to

“help seize" property with a group of 15 special forces.

Photo: www.globallookpress.com

The staff capitulated, because "power is power," Durandin said. At the same time, threats were also made
against him and his family.

"Their methods of pressure on me and my family were just like in the wild 90s. On February 23, 2011 they
hung a grenade with a trip wire on the gate of my house, which later turned out to be a training grenade. It
tickled the nerves. Then they sent text messages with

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You have children and grandchildren, so keep that in mind,” Durandin told Tsargrad.

Oleg Zhukov, a partner at TM-Defence, told Tsargrad that the apotheosis of Ryzhov's greed was an attempt to
raid a building in the center of Moscow, on Gogolevsky Boulevard. This attempt failed in the end, and there
were many complaints against Ryzhov. The lawyer also generated a whole train of cases on the grounds of the
seizure of apartments in Nizhny Novgorod. As a result, all the cases were merged into one proceeding
(according to Durandin, the Automobilist sanatorium case still exists separately), and Ryzhov himself did not
wait until he was arrested and fled to the United States.

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The ability of fugitives like Ryzhov to portray themselves as victims is amazing! And in the U.S., they willingly
believe in the trend of political prisoners who are imprisoned because of "Kremlin slander," as well as
persecuted abroad.

We can only hope that the U.S. will really look into the Ryzhov case, and he will return to the “pioneer high-
security camp", or better yet - be extradited to Russia, where he will be punished accordingly. This would
show the U.S. legal system to Interpol and the world at large that it is doing its job, rather than covering up for
hardened criminals.

In Russia, Ryzhov could face up to 10 years in prison under the article on fraud. However, it is possible that
the investigation will still find signs of organization of a criminal association in his actions. For this article 210
of the Criminal Code provides even harsher punishment, which is adequate to the greed and indifference to
the fate of people deceived by Ryzhov. Under this article, one of the biggest swindlers of the last decade in
Russia can go to jail for life.

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IN UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

United States Courthouse New York, New York

Manhattan, New York
500 Pearl Street, New York, NY 10007
(212) 805-0136

Dear Clerks of the Court

Please find enclosed the following documents:

1. Civil Cover Sheet;

2. Cheque for $402;

3. Plaintiff's Complaint accompanied by Plaintiff's Declaration with exhibits;
4. Summons for Defendants.

Dated February 04, 2023 Respectfully submitted

E.Ryzhov@yahoo.com

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